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                                                       No. 25-1007

                         IN THE UNITED STATES COURT OF APPEALS
                                  FOR THE FIRST CIRCUIT
      _____________________________________________________________________________________________________________________



                                                FRANK THOMPSON,
                                                 Plaintiff – Appellant,

    JOEL STROUT; JASON LORD; CHRISTOPHER SMITH; JACK CUNNINGHAM,

                                                       Plaintiffs,

                                                               v.
                            CARL WILSON, in their official capacity as
                        Commissioner, Maine Department of Marine Resources,
                                                Defendant – Appellee.
      _____________________________________________________________________________________________________________________


         ON APPEAL FROM THE UNITED STATES DISTRICT COURT FOR THE
               DISTRICT OF MAINE (CASE NO. 1:24-CV-00001-JAW)
      _____________________________________________________________________________________________________________________



                                   BRIEF OF DEFENDANT-APPELLEE
      _____________________________________________________________________________________________________________________



                                                                       AARON M. FREY
                                                                       Attorney General

       THOMAS A. KNOWLTON                                              VALERIE A. WRIGHT
       Deputy Attorney General                                         JACK DAFOE
                                                                       Assistant Attorneys General
       Of Counsel                                                      Six State House Station
                                                                       Augusta, Maine 04333-0006
                                                                       (207) 626-8800

                                                                       Attorneys for Defendant-Appellee
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                                 STATEMENT OF THE ISSUE

             Whether the district court correctly held that the rule adopted by the Maine

       Department of Marine Resources requiring lobstermen to operate electronic tracking

       devices on federally permitted commercial lobster fishing vessels does not violate

       the Fourth Amendment to the United States Constitution.

                                 STATEMENT OF THE CASE
             Based on their combined scientific and regulatory expertise, Maine and the

       other states that collaboratively manage the American lobster 1 fishery have

       determined that precise, reliable data about the location of lobster fishing activity is

       necessary to effectively manage the fishery for the future. To that end, in 2022, the

       Atlantic States Marine Fisheries Commission adopted a measure requiring

       lobstermen 2 to operate electronic tracking devices on federally permitted

       commercial lobstering vessels to collect precise location data. To comply with its

       obligations as a member state in the Commission, the Maine Department of Marine


       1
        “American lobster” (Homarus americanus) is a species of lobster found on the
       Atlantic coast of North America.
       2
         As noted by the district court, “lobstermen” is used as a gender-neutral term in the
       Maine lobster industry. See Maine Lobster Community Alliance, A Lobsterman is a
       Lobsterman,         Regardless        of     Gender         (July     7,       2023),
       https://www.mlcalliance.org/post/a-lobsterman-is-a-lobsterman-regardless-of-
       gender (last visited Apr. 15, 2025). The Commissioner likewise uses it as a gender-
       neutral term in this brief.

                                                  1
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       Resources (“DMR”) adopted a Rule implementing the electronic tracking device

       requirement in Maine. Maine’s Rule is the subject of this appeal.

             The Atlantic States Marine Fisheries Commission and the Management of
             the American Lobster Fishery3

             Since 1942, Maine has been a party to the Atlantic States Marine Fisheries

       Compact, an agreement between the Atlantic coastal states (including the District of

       Columbia) to “exercise joint regulatory oversight of their fisheries.”4 Medeiros v.

       Vincent, 431 F.3d 25, 27 (1st Cir. 2005). Maine is thus a member of the Atlantic

       States Marine Fisheries Commission (“Commission”), the interstate organization

       that implements the Compact. See 12 M.R.S. §§ 4651-4656 (2024). Each member

       state appoints three representatives to the Commission: its director of marine




       3
         The recited facts either were alleged in the Complaint; are matters of public record
       not susceptible to reasonable dispute; or are drawn from the exhibits attached to the
       Complaint and materials incorporated by reference or relied upon in the Complaint.
       See Lowe v. Mills, 68 F.4th 706, 713-14 (1st Cir. 2023); Rivera v. Kress Stores of
       P.R., Inc., 30 F.4th 98, 102 (1st Cir. 2022); Giragosian v. Ryan, 547 F.3d 59, 65 (1st
       Cir. 2008). Thompson erroneously states that the facts in this case are undisputed.
       Thompson Brief (“Thompson Br.”) at 7. Well-pleaded facts contained in a complaint
       are taken as true for purposes of considering an appeal of a dismissal for failure to
       state a claim, but that does not mean they are undisputed.
       4
        Congress approved the Compact pursuant to art. I, § 10, cl. 3 of the United States
       Constitution. See Pub. L. No. 77-539, 56 Stat. 267 (1942), as amended by Pub. L.
       No. 81-721, 64 Stat. 467 (1950).

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       fisheries (for Maine, DMR Commissioner Wilson)5; a state legislator; and a public

       member with fisheries experience who is appointed by its governor. See 12 M.R.S.

       § 4652; Plaintiff-Appellant’s Appendix (“App.”) at 17, ¶ 18.

             The Commission establishes interstate fishery management plans setting forth

       minimum conservation standards that states must conform to (or exceed) by

       appropriate modifications to their state laws or regulations. 6 See R.I. Fishermen’s

       All., Inc. v. R.I. Dep’t of Envtl. Mgmt., 585 F.3d 42, 46 (1st Cir. 2009) (“RIFA”);

       Medeiros, 431 F.3d at 27-28. Through its American Lobster Management Board

       (“Board”), the Commission coordinates the management of lobster fishing in its

       member states’ jurisdictional waters pursuant to Amendment 3 to the Commission’s

       Interstate Fishery Management Plan for American Lobster (the “Lobster Plan”) and



       5
         Commissioner Wilson was confirmed and sworn in as Commissioner of DMR on
       April 8, 2025. See https://www.maine.gov/governor/mills/about/cabinet/wilson
       (last visited Apr. 26, 2025).
       6
         A complex web of fisheries laws means that state and federal authorities often have
       overlapping jurisdiction. States generally have primary responsibility for the
       conservation and management of fisheries within the territorial sea (in Maine’s case,
       coastal waters within three nautical miles of shore). See 43 U.S.C. §§ 1301-1315;
       12 M.R.S. § 6001(6) (2024). Management within the Exclusive Economic Zone—
       from three to 200 nautical miles from shore—is generally the primary responsibility
       of the federal government. See, e.g., 16 U.S.C. § 1856(a). DMR has authority to
       enforce Maine’s marine resources laws and regulations in federal and State waters.
       See 12 M.R.S. § 6002(3) (2024). In the lobster fishery, if a state’s regulations and
       the federal regulations differ, a federally permitted lobsterman “must comply with
       the more restrictive requirement or measure.” 50 C.F.R. § 697.3(c).

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       subsequent Addenda.7 See Medeiros, 431 F.3d at 27-28.

             Since Congress’s 1993 enactment of the Atlantic Coastal Fisheries

       Cooperative Management Act (“ACFCMA”), Pub. L. No. 103-206, 107 Stat. 2419

       (1993) (codified at 16 U.S.C. §§ 5101-5108), the Commission’s fishery management

       plans have been backed by federal law. Pursuant to the ACFCMA, the Commission

       must, among other things, “prepare and adopt coastal fishery management plans to

       provide for the conservation of coastal fishery resources,” review states’



       7
         Some fisheries overseen by the Commission are also managed by regional fishery
       management councils established under the Magnuson-Stevens Fishery
       Conservation and Management Act (“MSA”), one of which is the New England
       Fishery Management Council (“NEFMC”). See 16 U.S.C. § 1852(a)(1)(A). These
       councils develop federal fishery management plans for certain fisheries in their
       regions that must meet the objectives of the MSA’s National Standards. See id.
       § 1852(h). But there is no such fishery management plan through the NEFMC for
       American             lobster.                   See           https://www.nefmc.org/
       management-plans (listing NEFMC fishery management plans) (last visited Apr. 21,
       2025). Instead, pursuant to the Atlantic Coastal Fisheries Cooperative Management
       Act, the American lobster fishery is cooperatively managed by the states and the
       federal government under the framework of the Commission. The individual
       member states regulate the fishery within their state coastal waters via state statutes
       and regulations that must comply with, and may exceed, the minimum standards in
       the Lobster Plan. See RIFA, 585 F.3d at 46. For consistency of management across
       state and federal waters, the United States Department of Commerce, through
       NOAA Fisheries (also known as the National Marine Fisheries Service), adopts
       regulations setting out lobster management measures that are complementary to the
       Lobster Plan and implements them via the federal permitting process for fishermen
       harvesting lobster in federal waters. See 16 U.S.C. §§ 5101-5108; 50 C.F.R. § 697.4;
       https://www.fisheries.noaa.gov/about-us (last visited Apr. 27, 2025). Therefore,
       neither the Commission nor its member states are constrained by the MSA or its
       National Standards in modifying the Lobster Plan or promulgating state regulations
       for the lobster fishery.
                                                 4
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       implementation and enforcement of its plans, and “report the results of the reviews”

       to the United States Secretary of Commerce. 16 U.S.C. § 5104. Should a member

       state fail to implement an essential element of a Commission plan, the Commission

       must notify the Secretary. Id. § 5105(b). If the Secretary independently determines

       that a state has failed to implement measures necessary for conservation, “the

       Secretary shall declare a moratorium on fishing in the fishery in question within the

       waters of the noncomplying State.” Id. § 5106(c)(1).

             Development and Adoption of Addendum XXIX

             After many years of regulatory oversight, the ten member states on the

       American Lobster Management Board “recognized the critical need for high-

       resolution spatial and temporal data to characterize effort”—that is, the location of

       fishing vessels and the location and density of fishing gear—in the federal lobster

       fishery. Commissioner’s Addendum (“Comm’r Add.”) at 5, § 1.0. 8 The Board noted


       8
          As the lobstermen plaintiffs did below, Thompson provided to this Court an
       incomplete version of Addendum XXIX that omits the text of its Appendix A, the
       “Lobster Vessel Tracking Ping Rate Analysis.” See Thompson Addendum
       (“Thompson Add.”) at 132. The Commissioner includes as an addendum to his
       brief, and cites to, the complete Addendum XXIX document including Appendix A,
       as he did below in his Motion to Dismiss. Comm’r Add. at 3-42; ECF Nos. 23 at 4,
       23-1. The district court considered the incomplete version of Addendum XXIX
       attached to the Complaint. See Thompson Add. at 70. Even if this Court likewise
       considers only the incomplete version of Addendum XXIX that omits Appendix A,
       the district court’s decision should be affirmed for the reasons discussed in this brief.
       But DMR urges this Court to consider the complete version of Addendum XXIX
       including Appendix A, which provides evidence on which the Commission relied to

                                                  5
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       that the existing available lobster fishery data is “constrained to NOAA [National

       Oceanic and Atmospheric Administration] statistical areas and state management

       areas, hindering the ability to quantify effort in specific regions or identify important

       transit routes and fishing grounds.” Comm’r Add. at 5, § 2.1. The Board therefore

       initiated Addendum XXIX “to consider implementing electronic vessel tracking

       requirements for federally[] permitted vessels in the lobster . . . fisher[y]” as a means

       of addressing the “critical need for electronic tracking data in the offshore fishery.”9

       Id. at 5, § 1.0, 6, § 2.1.



       determine that a one-minute ping rate is necessary to advance the goals of Addendum
       XXIX. Comm’r Add. at 19-41. Generally, “[i]f a plaintiff has selectively introduced
       material in the complaint but has omitted critical portions of the documents, the
       defendant is allowed to introduce the full text of the material for the court’s
       consideration.” In re Hunter Envtl. Servs., Inc. Sec. Litig., 921 F. Supp. 914, 917-
       18 (D. Conn. 1996) (citing Romani v. Shearson Lehman Hutton, 929 F.2d 875, 879
       n.3 (1st Cir. 1991) (superseded by statute on other grounds as stated in Greebel v.
       FTP Software, Inc., 194 F.3d 185 (1st Cir. 1999)) and Fudge v. Penthouse Int’l, Ltd.,
       840 F.2d 1012, 1015 (1st Cir. 1988)). The lobstermen did not challenge the
       authenticity of the complete Addendum XXIX below, and Thompson has no basis
       to challenge it now. Further, the Court should consider the allegations in the
       Complaint concerning Addendum XXIX in light of the full text of the Addendum,
       and if there is any discrepancy between the allegations and the document text, “the
       exhibit trumps the allegations.” Clorox Co. P.R. v. Proctor & Gamble Com. Co.,
       228 F.3d 24, 32 (1st Cir. 2000) (quoting N. Ind. Gun & Outdoor Shows, Inc. v. City
       of S. Bend, 163 F.3d 449, 454 (7th Cir. 1998)).
       9
          Addendum XXIX was accompanied by Addendum IV to the Jonah Crab Fishery
       Management Plan. Although federal lobstering permits and Maine lobstering
       licenses are also crab fishing permits and licenses, for simplicity this brief refers
       exclusively to lobstering permits, lobstering licenses, and the lobster fishery.

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              Specifically, the Board initiated Addendum XXIX in the context of four

       “challenges the fishery is currently facing [that] pose a critical need for electronic

       tracking data.” Comm’r Add. at 6, § 2.1. The Board observed that “[e]ach of these

       issues pose an acute need for high-resolution data on where and when fishery effort

       in the federal fleet occurs. Electronic tracking requirements in the federal fishery

       would fill this information gap and support fishery managers in addressing the

       aforementioned challenges.” Id.

              First, the Board explained that currently available data, including data

       collected from Vessel Trip Reports (“VTRs”) already required of lobster vessels, is

       insufficiently detailed for management and scientific purposes, such as conducting

       stock assessments. See Comm’r Add. at 6, § 2.1. This data is insufficiently detailed

       because “not all lobster permit holders report at a finer scale than the NOAA

       statistical area; for each trip some provide a single latitude and longitude point meant

       to represent where the majority of fishing occurred, some provide 10 minute

       square(s) fished, and some provide only the statistical area fished.” 10 Id. at 7, § 2.2.2.

       The Board further noted that “[i]mproved spatial resolution of total harvest data from


       10
          A “10 minute square” is an area defined by 10 minutes of latitude and 10 minutes
       of longitude; off the northeastern Atlantic coast, it is an area of approximately 70-80
       square nautical miles. See https://www.nefmc.org/files/Glossary.pdf (last visited
       Apr. 21, 2025). A map of NOAA Fisheries Statistical Areas, which are much larger
       than 10 minute squares, is available at https://www.fisheries.noaa.gov/
       resource/map/greater-atlantic-region-statistical-areas (last visited Apr. 21, 2025).

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       vessel tracking will improve size composition data used in the stock assessment

       models to improve the accuracy of exploitation and reference abundance estimates.”

       Id. at 7-8, § 2.2.2.

              Second, the Board noted that interactions between protected marine species

       and lobster fishing will likely result in further risk reduction efforts being imposed

       on the fishery under the Atlantic Large Whale Take Reduction Plan (“ALWTRP”).

       Comm’r Add. at 6, § 2.1. Such risk reduction efforts may include “requirements for

       gear modifications [that] are expected to have a substantial economic impact on the

       fishing industry.” Id. at 8, § 2.2.3. The Board explained that NOAA Fisheries

       develops the ALWTRP using a “co-occurrence model, which pairs information

       regarding the distribution of whales and commercial fishing gear to predict areas

       where whales may be prone to entanglement.” Id. The currently available “coarse

       resolution” data makes it difficult to contribute valuable information about the

       location and density of fishing gear, particularly vertical buoy lines, to NOAA

       Fisheries. Id. at 6, § 2.1. Thus, the Board observed, “it is critical to gather and

       provide updated and enhanced spatial effort data to improve the associated risk

       reduction models” and better inform any forthcoming regulations issued by NOAA

       Fisheries, thereby attempting to limit impacts on the lobster industry. Id. at 8,

       § 2.2.3.

              Third, the Board explained that the increase in competing uses of the ocean,

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       such as aquaculture, creation of new marine protected areas, offshore wind energy

       development, and offshore oil and gas exploration are putting pressure on the lobster

       fishery. See Comm’r Add. at 6, § 2.1, 9, § 2.2.4. The Board emphasized that “[i]t

       is critically important to record the footprint of the [U.S.] lobster fishery as spatial

       allocation discussions occur” around these competing uses. Id. at 8, § 2.2.4. The

       Board noted examples of where the lack of sufficiently detailed fishery data had

       prevented the Commission from providing adequate information necessary to

       understand the potential economic impacts of proposed competing uses. See id. at

       8-9, § 2.2.4. The Board deemed better documentation of lobster fishing activity to

       be “essential” to inform future decisions regarding spatial allocation of the ocean

       among competing interests. See id.

             Fourth, the Board explained that the “large geographic footprint and low

       density of lobster gear in the offshore federal management area” makes enforcement

       challenging. Comm’r Add. at 6, § 2.1. Having long recognized that “enforcement

       efforts in the offshore federal lobster fishery need to be improved,” the Board

       commented that “[e]nforcement personnel have consistently noted that having the

       ability to differentiate when a boat is steaming [in transit] versus hauling [setting or

       collecting traps] is critical to efforts to inspect gear and identify when fishermen are

       using illegal gear.” Id. at 9, § 2.2.5. The Board valued the ability to more precisely

       locate fishing activity as a means of improving offshore enforcement efforts, thereby

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       protecting the lobster resource from fishing violations and ensuring the ongoing

       viability of the fishery. See id.

             In developing Addendum XXIX, the Board undertook to assess precisely what

       “ping rate” is needed to capture the type of detailed data the Board identified as

       necessary to advance the Addendum’s goals. The “ping rate” is how often an

       electronic tracking device captures and transmits a vessel’s position. Comm’r Add.

       at 11, § 3.1.1. The Board considered evidence that a rate of one ping per minute was

       required to capture necessary information about the location and density of fishing

       gear that less frequent ping rates would miss. See id. at 19-41, Appendix A; see also

       supra note 8. Accordingly, in Addendum XXIX the Board required that any vessel

       tracking device “must collect location data at a minimum rate of one ping per

       minute” because that rate “is necessary to distinguish lobster fishing activity from

       transiting activity and can allow estimation of the number of traps per trawl (See

       Appendix A).” See id. at 11, § 3.1.1.

             After the Commission’s approval of Addendum XXIX in March 2022, and to

       comply with Maine’s obligations under the Compact, DMR promulgated Chapter

       25.98 (“the DMR Rule”), with an effective date of November 5, 2023. See 13-188

       C.M.R. ch. 25, § 25.98 (2023). Maine was the second member state to adopt a

       regulation pursuant to Addendum XXIX. Massachusetts adopted a regulation

       effective May 1, 2023. See 322 Code Mass. Regs. § 7.11. Since Maine adopted the

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       DMR Rule, regulations pursuant to Addendum XXIX have been adopted by the

       member states of New Hampshire, N.H. Code Admin. R. Fis 612.01 (eff. Feb. 21,

       2024); New Jersey, N.J. Admin. Code § 7:25-14.16(a)(12) (eff. Mar. 8, 2024);

       Delaware, 7 Del. Admin. Code 3755-4.0 (eff. Mar. 11, 2024); Rhode Island, 250-

       R.I. Code Regs. 90-00-5.5.8 (eff. Apr. 28, 2024); 11 and Maryland, Md. Code Regs.

       08.02.08.10(G) (eff. Aug. 5, 2024).

             The DMR Rule

             The DMR Rule applies only to lobstermen who hold both a Maine commercial

       lobster license and a federal lobster permit—meaning that they can legally fish for

       lobster in both state and federal waters. See 13-188 C.M.R. ch. 25, § 25.98(A)(2).

       The Rule requires these lobstermen to install an approved electronic tracking device

       on the federally permitted vessel listed on their Maine license and maintain the

       device in operational order while the vessel is in use. Id. § 25.98(B)(1), (C). DMR

       has provided license holders with approved Particle TrackerOne devices, see

       Thompson Addendum (“Thompson Add.”) at 134, but a license holder can choose a

       different device so long as it meets the specifications of, and has been approved by,

       the Commission pursuant to Addendum XXIX, see 13-188 C.M.R. ch. 25,



       11
          DMR understands that a Rhode Island state judge ordered the state agency not to
       enforce the Rhode Island rule pending the outcome of litigation. The judge’s
       preliminary order in that case was not based on a Fourth Amendment argument and,
       therefore, is not relevant to this appeal.
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       § 25.98(A)(1). The Particle TrackerOne device collects the position of the vessel

       once per minute when the vessel is moving and once every six hours when the vessel

       is moored or docked. Thompson Add. at 134.

             Pursuant to the DMR Rule, it is unlawful for covered license holders to fish

       for lobster without having approved tracking devices installed and operating on their

       vessels, and they may not power down the device or tamper with the device or its

       signal. See 13-188 C.M.R. ch. 25, § 25.98(C). However, several exceptions apply:

       (1) the license holder is not required to keep the tracker externally powered (plugged

       in) when the vessel is moored or docked; (2) the device may be inoperative when

       the vessel is removed from coastal waters for an extended period of time; (3) the

       device may be inoperative for the purpose of being repaired or replaced; and (4) if

       the device fails and becomes inoperable, the license holder may continue fishing

       with approval from DMR while the situation is addressed. See id.

             Vessel location data from the electronic tracking devices is transmitted to the

       Atlantic Coastal Cooperative Statistics Program (“ACCSP”), which maintains the

       Standard Atlantic Fisheries Information System (“SAFIS”) database. App. at 29,

       ¶ 62. ACCSP protects the vessel location data using the same electronic transmittal

       systems and the SAFIS database that it already uses for self-reported VTR data, as

       described in Addendum XXIX. See Comm’r Add. at 2, § 2.1; 12, § 3.1.1; 16-17,

       § 3.2.3. Further, the vessel location data is “designated as confidential through

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       Maine law and regulation.” Thompson Add. at 135. Specifically, Maine law

       requires that fisheries data be kept confidential and not be disclosed in a manner that

       permits identification of any person or vessel. 12 M.R.S. § 6173 (2024). DMR

       regulations also require that publicly released data not identify individual vessels or

       license holders. See 13-188 C.M.R. ch. 5 (2021).

             On January 2, 2024, five Maine lobstermen filed a Complaint in the district

       court alleging that the DMR Rule violates the Fourth Amendment, incorporated

       against the states through the Fourteenth Amendment, among other claims. App. at

       12-41.   On January 12, 2024, the lobstermen filed a Motion for Preliminary

       Injunction (ECF No. 7). On March 1, 2024, the Commissioner opposed the Motion

       (ECF No. 16) and, on April 8, 2024, filed a Motion to Dismiss the Complaint (ECF

       No. 23) for, in relevant part, failure to state a claim pursuant to Federal Rule of Civil

       Procedure 12(b)(6). Also on April 8, 2024, the Commission filed an amicus curiae

       brief in support of the Commissioner’s Motion to Dismiss (ECF No. 22).

             The district court heard argument on the pending motions on November 19,

       2024, with the Commission participating in oral argument as amicus. (ECF No. 32.)

       On November 21, 2024, in a thorough decision, the district court granted the

       Commissioner’s Motion to Dismiss, dismissing all of the lobstermen’s claims, and

       dismissed the lobstermen’s Motion for Preliminary Injunction as moot. Thompson

       Add. at 3-100. In dismissing the lobstermen’s Fourth Amendment claim, the district

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       court held that the lobstermen had failed to state a plausible claim for relief because

       the DMR Rule authorizes searches that comply with the elements of a lawful

       administrative search of a closely regulated industry.12 Id. at 70-92.

             On November 21, 2024, the district court entered a judgment of dismissal.

       Thompson Add. at 139. On December 19, 2024, only one of the lobstermen

       plaintiffs, Frank Thompson, appealed. Represented by new counsel, Thompson has

       appealed solely the district court’s dismissal of the Fourth Amendment claim.

                              SUMMARY OF THE ARGUMENT

             The district court correctly held that the lobstermen failed to plead a plausible

       claim for relief on their Fourth Amendment claim because the DMR Rule does not

       violate the Fourth Amendment. If administrative searches of a closely regulated

       industry meet the three-part test set out by the Supreme Court of the United States

       in New York v. Burger, then they are reasonable under the Fourth Amendment. The

       district court correctly applied Burger and this Court’s precedents to determine that

       the DMR Rule authorizes lawful administrative searches of a closely regulated

       industry and meets the Burger test.



       12
          More precisely, the district court determined that the lobstermen had failed to
       plead a plausible claim for relief on their Fourth Amendment claim because, on the
       record properly before the court, DMR demonstrated that the DMR Rule complies
       with the Fourth Amendment. See Thompson Add. at 69, 73, 80-82, 85. DMR bears
       the burden of demonstrating that an exception to the warrant requirement for
       government searches applies. See infra at 16.
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             Specifically, the district court correctly held that the DMR Rule is necessary

       to advance DMR’s substantial government interest in preserving the long-term

       health and stability of Maine’s commercial lobster fishery. The district court

       properly relied on facts in the record establishing the inadequacy of current data

       about where lobster fishing is occurring and the critical need for DMR to have better

       data to conduct lobster stock assessments, provide empirical evidence to federal

       regulators about potential impacts on the commercial lobster industry of federal

       regulations and allocations of ocean space for other uses, and engage in more

       efficient and effective enforcement efforts.       The district court also correctly

       determined that the DMR Rule performs the basic functions of a warrant.

             The lobstermen conceded below that the DMR Rule involves a closely

       regulated industry and that the Burger test applies to their Fourth Amendment claim.

       Thompson, the sole appellant, may not now argue the opposite on appeal.

             For these reasons, the Court should affirm the district court’s decision.

                                   STANDARD OF REVIEW

             This Court reviews the district court’s dismissal of a complaint pursuant to

       Federal Rule of Civil Procedure 12(b)(6) for failure to state a claim de novo. See

       Legal Sea Foods, LLC v. Strathmore Ins. Co., 36 F.4th 29, 34 (1st Cir. 2022). A

       motion to dismiss is properly granted if the complaint fails to “allege facts sufficient

       to state a plausible claim for relief,” with “plausible mean[ing] something more than

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       merely possible.” Doe v. Stonehill Coll., Inc., 55 F.4th 302, 316 (1st Cir. 2022)

       (internal quotation marks omitted). In reviewing the district court’s grant of a

       motion to dismiss for failure to state a claim, this Court accepts well-pleaded facts

       in the complaint but not conclusory legal allegations. See García-Catalán v. United

       States, 734 F.3d 100, 103 (1st Cir. 2013).

                                            ARGUMENT

          I.        The district court correctly held that the DMR Rule does not violate
                    the Fourth Amendment because it authorizes lawful administrative
                    searches of fishing vessels operating in a closely regulated industry.

               A.      If an administrative search of a closely regulated industry meets the
                       test set out in New York v. Burger, then it is reasonable under the
                       Fourth Amendment.

               The Fourth Amendment prohibits “unreasonable searches and seizures,” U.S.

       Const. amend. IV, and “warrantless searches of private premises are presumptively

       unreasonable,” United States v. Almonte-Báez, 857 F.3d 27, 31 (1st Cir. 2017) (citing

       Brigham City v. Stuart, 547 U.S. 398 (2006)). However, courts have recognized

       several exceptions to this presumption of unreasonableness, with the proviso that,

       even on a motion to dismiss, “[t]he government bears the burden of demonstrating

       an exception to the warrant requirement.” Taylor v. City of Saginaw, 922 F.3d 328,

       334 (6th Cir. 2019) (citing United States v. Jeffers, 342 U.S. 48, 51 (1951)). Of

       relevance here, an “administrative search” is a warrantless search that “serve[s] a

       ‘special need’ other than conducting criminal investigations.” City of Los Angeles v.


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       Patel, 576 U.S. 409, 420 (2015). Generally, these warrantless searches do not violate

       the Fourth Amendment if the subject of the search is afforded an opportunity for pre-

       compliance review before a neutral decisionmaker. Id.

             Where the search involves commercial premises in a “closely regulated

       industry,” however, a “more relaxed standard” applies. Patel, 576 U.S. at 424. Such

       a search does not infringe the Fourth Amendment if (1) there is a substantial

       government interest behind the regulatory framework pursuant to which the search

       is made; (2) the search is “necessary to further [the] regulatory scheme”; and (3) the

       regulatory framework “perform[s] the two basic functions of a warrant: it must

       advise the owner of the commercial premises that the search is being made pursuant

       to the law and has a properly defined scope, and it must limit the discretion of the

       inspecting officers.” New York v. Burger, 482 U.S. 691, 702-03 (1987) (internal

       quotation marks omitted); Rivera-Corraliza v. Morales, 794 F.3d 208, 216-217 (1st

       Cir. 2015) (describing the “Burger test”); United States v. Gonsalves, 435 F.3d 64,

       67 (1st Cir. 2006) (same). The more relaxed standard for administrative searches of

       closely regulated industries applies because “[a]n expectation of privacy in

       commercial premises . . . is different from, and indeed less than, a similar expectation

       in an individual’s home [and] is particularly attenuated in commercial property

       employed in ‘closely regulated’ industries.” Burger, 482 U.S. at 700; Marshall v.

       Barlow’s, Inc., 436 U.S. 307, 313 (1978) (“[W]hen an entrepreneur embarks upon []

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       a business [in a closely regulated industry], he has voluntarily chosen to subject

       himself to a full arsenal of governmental regulation . . . .”); Giragosian v.

       Bettencourt, 614 F.3d 25, 29 (1st Cir. 2010) (“[T]he owner of commercial property

       in a closely regulated industry has a reduced expectation of privacy in those

       premises.”).13 In short, a lawful administrative search of a closely regulated industry

       is “reasonable” and does not violate the Fourth Amendment.

             Thompson argues that administrative searches that meet the Burger standard

       must also be “reasonable” under a separate standard. See, e.g., Thompson Brief

       (“Thompson Br.”) at 11 (“[T]he Rule is unconstitutional unless it is both reasonable

       and fits entirely within the ‘narrow exception’ for administrative searches within a

       ‘closely regulated industry.’” (emphasis in original)). This argument was not raised

       below and is thus unpreserved. 14 But even assuming that this argument is preserved


       13
          This lower expectation of privacy in commercial premises also applies when the
       “premises” is a vehicle. See United States v. Maldonado, 356 F.3d 130, 135 (1st Cir.
       2004) (noting, in analyzing administrative searches of commercial trucks, that “[f]or
       purposes of the Burger doctrine, we see no meaningful distinction between
       commercial premises and commercial vehicles”).
       14
          Although Thompson is represented by new counsel on appeal, he is not entitled
       to present a new case. Beyond attempting to reverse the lobstermen’s closely
       regulated industry concession below (see infra Part II), Thompson also presents a
       slew of new arguments regarding application of Burger. But it is axiomatic that,
       barring extraordinary circumstances, “[a]ppellants cannot raise an argument on
       appeal that was not squarely and timely raised in the trial court.” Carrozza v. CVS
       Pharmacy, Inc., 992 F.3d 44, 59 (1st Cir. 2021) (internal quotation marks omitted);
       see also 3137, LLC v. Town of Harwich, 126 F.4th 1, 10 (1st Cir. 2025). More

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       and adequately developed on appeal, Thompson is just plain wrong. The Supreme

       Court has made clear that searches that meet the Burger test for administrative

       searches of closely regulated industries are “reasonable” within the meaning of the

       Fourth Amendment. See Burger, 482 U.S. at 702 (“[W]arrantless inspection . . .

       even in the context of a pervasively regulated business, will be deemed to be

       reasonable only so long as three criteria are met.” (emphasis added)); Patel, 576

       U.S. at 426 (“Even if we were to find that hotels are pervasively regulated, [the

       challenged regulation] would need to satisfy three additional criteria to be

       reasonable under the Fourth Amendment.” (emphasis added)).                Requiring an

       additional, free-floating “reasonableness” inquiry on top of the Burger test is simply

       not supported by the law.

             Regardless, Thompson’s “reasonableness” argument also fails on its own

       terms. A good portion of Thompson’s brief is devoted to arguing that the DMR Rule

       is not reasonable within the meaning of the Fourth Amendment because the

       electronic tracking is akin to Colonial-era “writs of assistance” or “general



       precisely, “a party is not at liberty to articulate specific arguments for the first time
       on appeal simply because the general issue was before the district court.” United
       States v. Facteau, 89 F.4th 1, 27 (1st Cir. 2023) (internal quotation marks omitted).
       Further, “issues adverted to in a perfunctory manner, unaccompanied by some effort
       at developed argumentation, are deemed waived.” United States v. Zannino, 895
       F.2d 1, 17 (1st Cir. 1990). At several points in this brief, the Commissioner will note
       where Thompson’s arguments on appeal run afoul of these principles and should be
       deemed waived.
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       warrants.” See, e.g., Thompson Br. at 16-20. This argument, as well as the related

       suggestion that the DMR Rule must have a direct historical analogue, see Thompson

       Br. at 17, was not made below and is therefore unpreserved. But even if preserved,

       Thompson’s contention that the collection of location data of commercial lobstering

       vessels is exactly like, or even worse than, British officers physically entering and

       “rummag[ing] through homes in an unrestrained search” is meritless. See Thompson

       Br. at 18 (quoting Riley v. California, 573 U.S. 373, 403 (2014)). Not only is

       Thompson’s analogy far-fetched on its face, it also does not account for the key

       factor underpinning administrative search doctrine, that a person has a reduced

       expectation of privacy in commercial operations. See Burger, 482 U.S. at 702; Patel,

       576 U.S. at 426; Rivera-Corraliza, 794 F.3d at 216.

             Thompson fruitlessly points to Carpenter and Leaders of a Beautiful Struggle,

       cases that did not involve commercial premises and raised different privacy

       considerations. See Thompson Br. at 20-21. In Carpenter v. United States, 585 U.S.

       296 (2018), the Supreme Court considered the privacy interests of a person “in the

       record of his physical movements” as captured through detailed cell-site location

       information gathered as part of a criminal investigation. Id. at 310-11. In Leaders of

       a Beautiful Struggle v. Baltimore Police Department, 2 F.4th 330 (4th Cir. 2021), the




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       Fourth Circuit considered the privacy implications of citywide aerial surveillance of

       individuals and vehicles.15 Id. at 333-34.

             In contrast to individuals going about their daily lives or driving private motor

       vehicles, the operators of commercial lobstering vessels have a reduced expectation

       of privacy in their vessels’ movements. Commercial lobstering vessels must display

       their registration numbers “so as to be clearly visible from enforcement vessels and

       aircraft.” 50 C.F.R. § 697.8(a)(2). The lobster traps they leave in the ocean must also

       be marked by surface buoys that are distinct and registered to a licensed lobsterman,

       and the buoy color design must be displayed on the vessel. See 12 M.R.S. §§ 6421(6),

       6432(2)-(4) (2024). Therefore, both the lobster vessels and the traps they distribute

       are subject to visual identification by anyone in the vicinity, thereby greatly reducing

       any expectation of privacy in their locations. See Oliver v. United States, 466 U.S.

       170, 179 (1984) (noting that so-called “open fields” “do not provide the setting for

       those intimate activities that the [Fourth] Amendment is intended to shelter from

       government interference or surveillance”). In addition, as discussed further in Part

       I.B.iii of this brief, operators of vessels at sea generally have a greatly reduced



       15
           Thompson also cites United States v. Jones, 565 U.S. 400 (2012), in which the
       Supreme Court held that the surreptitious placement by the police of a GPS tracker on
       a private vehicle constituted a search under the Fourth Amendment. Id. at 404-05.
       Other than the superficial parallel between a GPS tracker and the electronic vessel
       tracker, that case did not involve considerations germane to searches of commercial
       premises under a regulatory framework.
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       expectation of privacy and are subject to boarding by law enforcement without

       reasonable suspicion. See United States v. Villamonte-Marquez, 462 U.S. 579, 592

       (1983); 12 M.R.S. § 6133(1) (2024).

             For these reasons, Thompson’s arguments about reasonableness generally

       under the Fourth Amendment are unavailing. As the lobstermen conceded below,

       the Burger test is the proper frame to analyze the reasonableness of the DMR Rule.

             B.     The district court correctly held that the DMR Rule satisfies the
                    Burger test for lawful administrative searches of a closely regulated
                    industry.

             The DMR Rule complies with all three elements of the Burger test.16 As to

       the first element, DMR has a substantial interest in ensuring the long-term viability

       of commercial lobstering as an economic and cultural pillar of Maine society and

       addressing threats to the industry by accurately characterizing the lobster fishery.

       See 12 M.R.S. § 6021 (2024) (establishing DMR in part to “conserve and develop

       marine . . . resources”); see also Tarabochia v. Adkins, 766 F.3d 1115, 1123 (9th Cir.

       2014) (stating, “[t]o be sure, protecting the fishery is an important governmental

       interest”). The lobstermen did not dispute this substantial interest below, see



       16
          The Commissioner agreed below, and continues to maintain for purposes of this
       suit, that the DMR Rule authorizes searches within the meaning of the Fourth
       Amendment. As further discussed in Part II infra, the lobstermen conceded in the
       district court that the DMR Rule involves a closely regulated industry. See
       Thompson Br. at 40; Pls.’ Mot. for Preliminary Injunction (ECF No. 7 at 21);
       Thompson Add. at 72 n.19.
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       Thompson Add. at 53, and on appeal, Thompson likewise acknowledges this

       substantial government interest, see Thompson Br. at 22. Rather, Thompson argues

       that the DMR Rule fails to comply with the second and third elements of the Burger

       test.

                    i.   The Supreme Court’s decision in City of Los Angeles v. Patel did
                         not change Burger’s second element.

               Thompson contends that the Patel decision substantively changed the

       meaning of “necessary” under the Burger test, and that, post-Patel, the question of

       whether administrative searches of businesses in a closely regulated industry are

       “necessary to further [the] regulatory scheme,” Burger, 482 U.S. at 702, requires

       determining whether the regulation’s absence would “fatally undermine” the

       government’s interest, or alternatively, “whether the government’s interest would be

       completely defeated by the lack of the challenged regulation,” Thompson Br. at 29,

       30 (emphasis in original).17 This Court should decline Thompson’s invitation to

       rewrite the second element of the Burger test, for several reasons.

               First, the Patel Court did not actually apply the Burger test because the Court

       determined that hotels are not a closely regulated industry and, therefore, that the

       Burger test did not apply. Patel, 576 U.S. at 424-26, 428. The Patel Court’s

       comments on the hypothetical application of Burger to hotels were merely dicta in


       17
          Thompson having never made this argument below, this Court should deem it
       waived. See Facteau, 89 F.4th at 27.
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       response to the dissent’s argument that the Court should have applied the Burger

       test. See id. at 426-27. Second, Thompson’s proposed “fatally undermine” standard

       is derived from the Patel Court’s characterization of the defendant’s argument that

       “affording hotel operators any opportunity for pre-compliance review would fatally

       undermine the scheme’s efficacy,” not from any announcement of what a

       government defendant must show to meet the second element of the Burger test. See

       Patel, 576 U.S. at 427. Third, Thompson argues that his proposed revision of

       Burger’s second element is supported by the dissenting Justice Scalia’s “view” in

       Patel that the Patel majority introduced a least-restrictive-means test into the Burger

       framework.       Thompson Br. at 28 (citing Patel, 576 U.S. at 438 (Scalia, J.

       dissenting)). But Thompson does not point to any cases decided in the ten years

       since Patel that interpret Patel to have introduced a least-restrictive-means test.

             In sum, the Patel majority’s dicta and the Patel dissent’s characterization of

       that dicta do not support Thompson’s invitation to rewrite Burger’s second element:

       that a challenged regulation authorizing administrative searches must be “necessary

       to further [the] regulatory scheme.” Burger, 482 U.S. at 702.

                  ii.    The district court correctly held that the DMR Rule satisfies the
                         second element of the Burger test for lawful administrative
                         searches of a closely regulated industry because it is necessary
                         to further the regulatory framework.

             Notwithstanding his attempt to rewrite Burger, Thompson also contends that

       the DMR Rule is not “necessary” within the meaning of Burger because the
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       Commissioner “wants” but “doesn’t need” more accurate lobster fishery data “to do

       his job of conservation and sustainability.” Thompson Br. at 30 (emphasis in

       original). Thompson suggests that the DMR Rule is only about “data collection” or

       “regulating the lobster fishery,” not about ensuring the fishery’s long-term viability.

       See Thompson Br. at 29-32. This contention, however, does not engage with, or

       even acknowledge, the record before this Court.

             In analyzing whether the DMR Rule meets the Burger test, the district court

       properly considered the language of Addendum XXIX “[b]ecause the [DMR] Rule

       is legally required to be consistent with the Addendum.” Thompson Add. at 74; see

       also App. at 13-14, ¶ 6. The district court quoted Addendum XXIX’s explanation of

       the challenges facing the fishery that “pose an acute need for high-resolution data on

       where and when fishery effort in the federal fleet occurs.” Thompson Add. at 75

       (quoting Comm’r Add. at 6, § 2.1). The district court quoted extensively from

       Addendum XXIX’s discussion of the importance of using high resolution data for

       stock assessments, the “critical” need to provide enhanced spatial effort data to

       federal large whale regulators, the “critically important [need] to record the footprint

       of the [U.S.] lobster fishery as spatial allocation discussions occur” around emerging

       uses of the ocean, and the need to improve the efficiency and effectiveness of

       regulatory fishing enforcement. Id. at 74-79 (quoted material at 77, quoting Comm’r

       Add. at 8, §§ 2.2.3, 2.2.4). Applying Burger and its progeny to these and more

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       statements contained in Addendum XXIX, the district court correctly concluded that

       “the electronic tracker requirement articulated in the [DMR] Rule and the Addendum

       on which it is based are ‘necessary’ to advance the long-term health and stability of

       the Maine lobster fishery.” Id. at 80.

             Rather than engage with Addendum XXIX’s conclusions about the necessity

       of electronic tracking of lobster vessels, Thompson presents a variety of

       misstatements and non-sequiturs.18       For example, he states that the “biggest

       giveaway” that the DMR Rule is unnecessary “is that no one else seems to be doing

       this in such an invasive way.” Thompson Br. at 32 (emphasis in original). But this

       statement ignores the fact that the Commission, made up of Atlantic coastal states,

       adopted Addendum XXIX, and that several of the member states with lobster

       fisheries have also instituted electronic tracking requirements for commercial lobster

       vessels pursuant to Addendum XXIX. See supra at 10-11. Maine does not “stand[]

       alone,” Thompson Br. at 39, in implementing electronic tracking of commercial

       lobster vessels; it stands with the other member states in the Commission that



       18
          Although Thompson avoids engaging with Addendum XXIX, he does cherry-pick
       a quote from it and misidentify it as “the Commissioner’s own words.” See
       Thompson Br. at 30 (emphasis in original). That statement, that electronic vessel
       tracking “could significantly improve the information available to fishery managers
       and stock assessment scientists,” Comm’r Add. at 6, § 2.1, does not negate the
       Commission and DMR’s overall conclusion that electronic vessel tracking is
       critically necessary to ensure the long-term viability of the lobster fishery.

                                                 26
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       adopted Addendum XXIX. Indeed, the adoption of such tracking by multiple states

       fits comfortably within the existing regime of regulations governing almost every

       aspect of commercial lobster fishing.19 See Def.’s Mot. to Dismiss at 13-15 (ECF

       No. 23.)

             Thompson also suggests that the one-minute ping rate required by Addendum

       XXIX is unnecessarily frequent and intrusive. Thompson Br. at 32. But Addendum

       XXIX explained that a one-ping-per-minute rate is necessary to accurately

       characterize activity in the fishery, including the locations and density of commercial

       fishing gear, which is critical to addressing current and future threats to the fishery

       and ensuring successful management through improved stock assessment. See

       Comm’r Add. at 11, § 3.1.1 (relying on Appendix A, id. at 19-41). In suggesting that

       the DMR Rule could use the same ping rate allegedly used by tracking devices in

       the scallop industry, see Thompson Br. at 32, Thompson not only ignores Addendum

       XXIX Appendix A’s “Ping Rate Analysis” of why the one-ping-per minute rate is




       19
           Contrary to Thompson’s suggestion, the Fifth Circuit’s Mexican Gulf Fishing
       decision is readily distinguishable. In that case, the Fifth Circuit considered whether
       charter boat owners “have a legitimate expectation of privacy to the whole of their
       movements while at sea” only after the court had determined that the “charter boat
       fishing industry” is not closely regulated and therefore that the framework for
       analyzing administrative searches of closely regulated industries did not apply.
       Mexican Gulf Fishing Co. v. U.S. Dep’t of Com., 60 F.4th 956, 970 (5th Cir. 2023).

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       necessary to properly characterize activity in the lobster fishery,20 but he makes no

       attempt to demonstrate that the scallop fishery presents the same data collection

       needs and challenges as the lobster fishery, or that scallops are fished in a similar

       manner using similar gear. 21 Nor is Thompson’s quotation of the district court’s

       observation that the Magnuson-Stevens Act “does not require lobster boats to have

       a vessel tracker,” Thompson Br. at 32 (quoting Thompson Add. at 9), relevant

       considering that the lobster fishery is primarily regulated under the framework of the

       Commission rather than the MSA, see supra note 7.

               To the extent that Thompson questions the need for the tracking device to be

       operational when a vessel is being used for something other than fishing or when it

       is fishing in state waters, it is true that DMR has no interest in a lobster vessel’s



       20
            See supra note 8.
       21
          Effective April 22, 2024, NOAA amended its scallop fishing regulations to lower
       the required ping rate in federal waters from once every thirty minutes to once every
       five minutes for vessels required to install a Vessel Monitoring System unit. See 50
       C.F.R. § 648.10(c)(1)(ii). In general, a necessary ping rate is determined in part by
       the type of fishing gear and method of fishing used for a particular species. Comm’r
       Add. at 28 (noting the ping rate analysis shows the “consistent rhythm of hauling
       familiar to anyone who has worked in fixed gear fisheries” such as the lobster
       fishery). In contrast with lobstering, scallop fishing is primarily done using dredges
       dragged along the bottom instead of fixed gear, so a different necessary ping rate
       would        be      expected      in      the      scallop      fishery.          See
       https://www.fisheries.noaa.gov/species/atlantic-sea-scallop (last visited Apr. 28,
       2025).

                                                28
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       movements when it is not engaged in fishing. But common sense dictates that an

       alternative system by which lobstermen could turn the tracking system off and on

       based on when they self-report lobster fishing, or when they cross the line into

       federal waters, would be functionally equivalent to the current self-reporting system

       that lacks the necessary accuracy, reliability, and precision. See Comm’r Add. at 6,

       § 2.1. As the district court correctly observed, the possibility that a lobsterman could

       neglect to turn on the tracking device at the appropriate time would “skew the

       results” and “it is essential that the data be accurate.” Thompson Add. at 89.

       Addendum XXIX points to an additional reason why the tracking device needs to

       start pinging every minute as soon as it leaves port, not merely when it crosses into

       federal waters. The tracking device’s feature of slowing the ping rate while the

       vessel is in port and accelerating the ping rate when the vessel leaves port “allow[s]

       for validation of track data against self-reported VTR trip start and end times.”

       Comm’r Add. at 12, § 3.1.1; see also 50 C.F.R. § 697.4(q)(1)(iv) (requiring

       lobstermen to report the date and time the vessel “left port on fishing trip”).

             Simply put, the Commission and DMR reasonably concluded, based on

       scientific evidence and their fishery management expertise, that the electronic

       tracking requirement as constructed in Addendum XXIX and the DMR Rule is

       necessary to protect and manage the fishery. The district court properly reached the

       same conclusion based on the record before it on the motion to dismiss.

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                 iii.   The district court correctly held that the DMR Rule satisfies the
                        third element of the Burger test because it performs the basic
                        functions of a warrant.

             The DMR Rule “perform[s] the two basic functions of a warrant” by “[1]

       advis[ing] the owner of the commercial premises that the search is being made

       pursuant to the law and has a properly defined scope, and . . . [2] limit[ing] the

       discretion of the inspecting officers.” Burger, 482 U.S. at 703. The Rule puts

       covered lobstermen on notice that data regarding the location of their fishing vessels

       is being collected per the Rule’s terms.22 See Tart v. Massachusetts, 949 F.2d 490,

       498 (1st Cir. 1991) (finding adequate notice where the regulation informed

       commercial fishermen “that routine documentation checks might occur at any time,

       particularly when fishing in Commonwealth coastal waters or landing raw fish at

       Commonwealth ports”). And the Rule properly limits government discretion by

       only authorizing the collection of location data of licensed commercial fishing

       vessels. In this way, the Rule is comparable to other administrative search regimes

       that have been approved as properly limited under the Burger test.




       22
          The district court correctly observed that not only does the DMR Rule itself put
       lobstermen on notice, but the material that DMR sent to every lobsterman with the
       Particle TrackerOne explained the Rule’s requirements, why the Rule applied to
       them, the kind of data the tracker would collect, why the Commission established
       the tracking requirement, and other information. Thompson Add. at 85-86. This
       material was attached to the Complaint and has been included by Thompson with
       his brief on appeal. Thompson Add. at 134-38.
                                                30
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             For example, in Burger, the Supreme Court concluded there were “appropriate

       restraints upon the discretion of inspecting officers” where “[t]he inspections can be

       made only of vehicle-dismantling and related industries” and “the permissible scope

       of these searches is narrowly defined: the inspectors may examine the records, as

       well as any vehicles or parts of vehicles which are subject to the record keeping

       requirements” of the relevant statute. Burger, 482 U.S. at 711-12 (internal quotation

       marks omitted). Following Burger, courts have approved administrative searches

       with comparably specific limits on government discretion. See Gonsalves, 435 F.3d

       at 68 (approving administrative searches of drug-storage facilities “to determine

       whether any of the provisions [of the relevant pharmaceutical control law] are being

       violated, and to secure samples or specimens” (internal quotation marks omitted));

       United States v. Ponce-Aldona, 579 F.3d 1218, 1226 (11th Cir. 2009) (approving

       administrative searches of commercial vehicles on public highways for certain cargo

       and documents presenting potential regulatory violations); Killgore v. City of S. El

       Monte, 3 F.4th 1186, 1192 (9th Cir. 2021) (approving “reasonable inspections of any

       massage establishment during regular business hours to ensure compliance with”

       regulations (internal quotation marks omitted)).

             It is true that vessel location data collection under the DMR Rule occurs

       around-the-clock whenever a vessel is in operation. The Burger court, however,

       made clear that temporal limitations on administrative searches are only relevant to

                                                31
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       the extent they demonstrate that the administrative search regime “place[s]

       appropriate restraints upon the discretion of the inspecting officers.” Burger, 482

       U.S. at 711. That is, timing restrictions for timing restrictions’ sake are not

       necessary, and courts have approved administrative searches with no time

       limitations. For example, in Tart, this Court considered the constitutionality of

       administrative searches pursuant to a Massachusetts statute providing that state

       fishing permits “shall be produced for examination upon demand of any authorized

       person” with no restriction on when such requests could be made. Tart, 949 F.2d at

       497-98 (quoting Mass. Gen. L. 130, § 2). Considering the third prong of the Burger

       test, the Court concluded that the statute, “although a tersely phrased authorization

       to conduct documentation checks,” appropriately limited “the exercise of the

       fisheries officer’s discretion in the field.” Id. at 498. The Court explained that a

       statute authorizing an administrative search “need not in all circumstances prescribe

       exhaustive restrictions limiting the target, time and place of the inspection.” Id. As

       the Court concluded, “[c]onsidered in the context of the entire regulatory scheme

       applicable to the commercial fishing industry . . . [t]he minimally intrusive nature of

       a proper verbal request to produce required documentation, and the importance of

       the governmental interests served by the Commonwealth’s permitting requirement,

       satisfy us that the documentation inspection in this case did not offend the fourth

       amendment.” Id. at 499.

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             Similarly, in Ponce-Aldona, the Eleventh Circuit concluded that a regime of

       unannounced, warrantless stops and searches of commercial vehicles on public

       highways did not violate the Fourth Amendment despite the complete lack of “time

       and place restrictions” on the searches. Ponce-Aldona, 579 F.3d at 1226. The court

       reasoned that “the absence of such restrictions is insignificant in the context of

       regulation of the commercial trucking industry” because “neither time nor place

       restrictions would be feasible”—commercial trucks operate 24 hours a day and could

       avoid fixed highway checkpoints. Id. More recently, this Court explained that “a

       regime may pass the Burger test even if there are no time limits—context is key”

       and cited Ponce-Aldona for the proposition that administrative search “schemes with

       no timing limits [are constitutional] if such limits would make inspections

       unworkable.” Rivera-Corraliza, 794 F.3d at 221.

             The DMR Rule presents the circumstances identified in Tart and Ponce-

       Aldona. As in Tart, the collection of location data at issue here is minimally intrusive

       in the context of the “entire regulatory scheme applicable to the commercial fishing

       industry.” Tart, 949 F.2d at 499. Specifically, the nature of the searches authorized

       by the DMR Rule—the collection of vessel location data by a tracking device—is

       less intrusive than the suspicionless boarding and search of a vessel, which is already

       authorized under state and federal law. A vessel at sea, unlike a personal vehicle on

       a highway or a pedestrian on a public street, can be stopped by federal and state

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       officials for document checks and safety inspections at any time even without

       reasonable suspicion. See Villamonte-Marquez, 462 U.S. at 592 (noting that “the

       First Congress clearly authorized the suspicionless boarding of vessels, reflecting its

       view that such boardings are not contrary to the Fourth Amendment”); United States

       v. Green, 671 F.2d 46, 53 (1st Cir. 1982); State v. Giles, 669 A.2d 192, 193 (Me.

       1996). Maine law specifically provides that “[m]arine patrol officers may stop and

       board any watercraft at any time to inspect its documents, licenses and permits of

       the occupants of the watercraft and to conduct a safety inspection.” 12 M.R.S.

       § 6133(1). There is a manifest distinction in the degree of intrusiveness between a

       tracker collecting vessel location data and an officer boarding and visually inspecting

       a vessel and its occupants. In addition, as the district court observed, the DMR Rule

       restricts the use of the data that is collected because it complies with existing legal

       requirements for data collection that are designed to protect individual information.

       Thompson Add. at 86.

             As in Ponce-Aldona, additional timing restrictions on the electronic data

       collection would not be feasible because, like commercial trucking, commercial

       lobstering does not follow regular business hours. See Ponce-Aldona, 579 F.3d at

       1226. Apart from seasonal nighttime and weekend restrictions, lobster fishing may

       take place at any time. See 12 M.R.S. § 6440 (2024). And as noted above, allowing

       vessel owners to turn the tracker on and off at their discretion would raise the

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       accuracy, reliability, and precision issues that have been identified with current self-

       reporting regimes and that the DMR Rule is designed to avoid.23

             Thompson’s argument regarding the third element of the Burger test is

       underdeveloped and ultimately unavailing. Thompson offers a serious of ipse dixit

       characterizations: the DMR Rule is “like a general warrant [because] it gives the

       Commissioner unlimited, plenary authority to constantly search the private property

       of Mr. Thompson”; a “constant, unlimited search”; or like “an elf-on-the shelf in the

       kitchen of a restaurant that recorded—and reported—everything done on the

       commercial premises.” Thompson Br. at 33-34 (emphasis in original). Not only do

       these characterizations fail to engage with the jurisprudence regarding the third

       element of the Burger test discussed above, but they are also unmoored from the

       reality of the DMR Rule. As previously noted, the DMR Rule puts licensed

       commercial lobstermen on notice that specific, limited information—location data

       for their commercial fishing vessels—is being collected.24 See supra at 12, 30. The


       23
          As noted above, the DMR Rule does feasibly limit data collection by requiring a
       much less frequent “ping” rate when a vessel is in port and by allowing vessel owners
       to apply for authorization to turn a tracker off when “the permitted vessel is removed
       from the coastal waters for an extended period of time or for purposes of repairing
       or replacing an approved tracking device.” 13-188 C.M.R. ch. 25, § 25.98(C)(4).
       24
          The lobstermen alleged in their Complaint, and Thompson repeats on appeal, that
       the tracking devices are Bluetooth-compatible and thus could be used to collect
       audio information. See App. at 34, ¶ 77; Thompson Br. at 8. The district court
       properly rejected this allegation as a well-pleaded fact, noting that the Federal Permit

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       electronic vessel tracking at issue in this case bears no relation to a hypothetical,

       unlimited search that records everything done on premises.

                For the foregoing reasons, the district court correctly held that the lobstermen

       failed to plead a plausible claim for relief on their Fourth Amendment claim because

       the DMR Rule authorizes lawful administrative searches in a closely regulated

       industry and therefore does not violate the Fourth Amendment.

          II.      Thompson conceded below that the DMR Rule involves a closely
                   regulated industry and cannot now argue the opposite on appeal.

                At the end of his brief, Thompson attempts to avoid the application of Burger

       entirely by asserting that “modern lobstering” is not a “closely regulated industry,”

       and therefore, the Burger test is inapplicable. See Thompson Br. at 35-39. As

       Thompson acknowledges, however, the lobstermen conceded in the district court

       that “commercial fishing” is a closely regulated industry for purposes of Burger.

       Thompson Br. at 40. The lobstermen also never distinguished between commercial

       lobstering and the larger universe of commercial fishing for purposes of the “closely

       regulated industry” analysis. See Thompson Add. at 72 n.19. The result of the

       lobstermen’s concession below was that the parties argued—and the district court


       Holder Vessel Tracking Requirements attached to the Complaint make clear that the
       tracking devices only collect data on “the time and position” of fishing vessels, “not
       ‘audio information’ … as Plaintiffs feared.” Thompson Add. at 86 (quoting
       Thompson Add. at 134); see also Comm’r Add. at 12, § 3.1.1 (tracker captures and
       submits only “device identifier, datetime, latitude, and longitude, . . . [and] vessel
       identifier (Coast Guard number or state registration number)”).
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       considered—the question of whether the searches authorized by the DMR Rule meet

       the Burger test for administrative searches of a closely regulated industry, not

       whether a closely regulated industry is involved in the first place. See id. Thompson

       now seeks to reverse his concession and asks this Court to consider for the first time

       on appeal whether commercial lobstering is a closely regulated industry for purposes

       of applying the Burger analysis.

             This Court, however, has made clear that “[a] party cannot concede an issue

       in the district court and later, on appeal, attempt to repudiate that concession and

       resurrect the issue.” Baker v. Smith & Wesson, Inc., 40 F.4th 43, 45 n.1 (1st Cir.

       2022) (quoting United States v. Miranda-Carmona, 999 F.3d 762, 767 (1st Cir.

       2021)). As this Court has explained, “[t]o hold otherwise would be to allow a litigant

       to lead a trial court down a primrose path and later, on appeal, profit from the invited

       error.” Id. Further, considering the effect of such an about-face on the opposing

       party, “[a] party may not ‘sandbag’ his case by presenting one theory to the trial court

       and then arguing for another on appeal.” McPhail v. Mun. of Culebra, 598 F.2d 603,

       607 (1st Cir. 1979); see also Lang v. Wal-Mart Stores E., L.P., 813 F.3d 447, 455 (1st

       Cir. 2016) (“The bottom line, then, is that team Lang cannot forsake its earlier

       concessions, switching ‘horses midstream’ to offer an entirely new take on the

       essential-functions issue—a take that is completely inconsistent with her earlier

       position.”). Indeed, multiple federal courts of appeal have held that a point conceded

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       in the district court generally cannot be raised on appeal. See, e.g., United States v.

       Mangano, 128 F.4th 442, 466 (2d Cir. 2025); United States v. Sledge, 108 F.4th 659,

       672 (8th Cir. 2024); Erdman v. Nationwide Ins. Co., 582 F.3d 500, 507 n.2 (3d Cir.

       2009).

             Thompson’s invocation of an exception to this well-established principle is

       misguided. This Court certainly “has the authority, in its discretion, to consider

       theories not articulated below” in certain narrow circumstances, bypassing the so-

       called “raise-or-waive” rule. Reyes-Colón v. United States, 974 F.3d 56, 62 (1st Cir.

       2020) (internal quotation marks omitted). But the cases that Thompson relies on

       concern the Court’s exercise of its discretion to consider issues that were merely not

       raised in the lower court. See Reyes-Colón, 974 F.3d at 62-63 (declining to consider

       an issue not raised in the district court); United States v. La Guardia, 902 F.2d 1010,

       1013 (1st Cir. 1990) (considering an issue not raised in the district court). Thompson

       has not cited a single case where this Court considered, or said that it could consider,

       an issue that a party conceded below, leading the district court down the “primrose

       path” of invited error and setting up the opponent for sandbagging. See Baker, 40

       F.4th at 45 n.1.

             However, even if this Court were to treat Thompson’s concession as no more

       than a failure to raise the “closely regulated industry” issue before the district court—

       and the Court should not so treat it—his failure would not fit within any exception

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       to the raise-or-waive rule. This Court has explained that exceptions to the rule,

       which “applies with full force to constitutional challenges,” should be “narrowly

       configured and sparingly dispensed.” Daigle v. Me. Med. Ctr., Inc., 14 F.3d 684, 688

       (1st Cir. 1994); accord B & T Masonry Constr. Co. v. Pub. Serv. Mut. Ins. Co., 382

       F.3d 36, 41 (1st Cir. 2004). Although this Court has identified various factors that

       could support consideration of an argument first raised on appeal, a fundamental

       factor is the presence of plain error, such that proper resolution of the issue is not in

       doubt on the existing record and failing to address the issue would result in a

       miscarriage of justice. See Correa v. Hosp. San Francisco, 69 F.3d 1184, 1196 (1st

       Cir. 1995) (noting that exceptions to the “raise-or-waive rule” are “few and far

       between, and appellate discretion should not be affirmatively exercised unless error

       is plain and the equities heavily preponderate in favor of correcting it”); accord

       Daigle, 14 F.3d at 688; United States v. Krynicki, 689 F.2d 289, 292 (1st Cir. 1982);

       see also La Guardia, 902 F.2d at 1013 (noting the Court’s refusal in a prior case to

       consider a new argument on appeal “where correct resolution [was] doubtful”).

             Far from demonstrating plain error, Thompson’s new contention that

       commercial lobstering is not a closely regulated industry asks this Court to undertake

       a series of legal and factual determinations to reach a resolution that is, at the very

       best for Thompson, doubtful. As a legal matter, addressing Thompson’s new

       contention would require this Court to, among other things, 1) determine whether

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       the Supreme Court’s Patel decision substantively changed the standard for

       identifying a closely regulated industry; 2) identify the elements of a closely

       regulated industry; and 3) determine whether the closely regulated industry inquiry

       in this matter should be applied to commercial fishing, commercial lobstering,

       “modern lobstering,” see Thompson Br. at 35, or some other subset of the

       commercial fishing industry suggested by Thompson.25

             As a factual matter, Thompson would require this Court to characterize the

       regulatory regime applicable to commercial lobstermen and analogize that regime to

       the myriad industries that have been identified—and continue to be identified post-

       Patel—as closely regulated. 26 Therefore, even treating Thompson’s concession as a



       25
           The sine qua non of a closely regulated industry is “a long tradition of close
       government supervision, of which any person who chooses to enter such a business
       must already be aware.” Club Madonna Inc. v. City of Miami Beach, 42 F.4th 1231,
       1248 (11th Cir. 2022) (quoting Marshall, 436 U.S. at 313); see also United States
       Dep’t of Just. v. Ricco Jonas, 24 F.4th 718, 734 (1st Cir. 2022) (an industry is closely
       regulated when it is subject to pervasive regulation and inspection). Beyond this
       fact-intensive inquiry, there is less agreement in the courts of appeal on the precise
       factors for determining whether a given commercial venture is part of a closely
       regulated industry for purposes of the Burger test. However, even the Fifth Circuit,
       the appeals court that has arguably been most skeptical of administrative searches of
       closely regulated industries, rejected the argument that, after Patel, only industries
       that involve threats to the public welfare may be deemed closely regulated. Mexican
       Gulf Fishing Co., 60 F.4th at 968; see Thompson Br. at 35-37 (making the argument
       rejected by the Fifth Circuit in Mexican Gulf Fishing).
       26
         In Patel, the Supreme Court questioned the scope of the closely regulated industry
       doctrine and noted that the Court itself has only recognized four industries (liquor

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       mere failure to raise the issue, this case does not present the type of extraordinary

       circumstance where this Court would consider exercising its authority to correct an

       error that is manifest on the face of the record. Cf. La Guardia, 902 F.2d at 1013

       (considering a sentencing guidelines issue that was not raised in the lower court

       because, among other factors, “the point can be resolved with certitude on the

       existing record”). This Court should decline to allow Thompson to walk away from




       sales, firearms dealing, mining, and automobile junkyards) as “closely regulated.”
       Patel, 576 U.S. at 424. However, as shown above, the Court’s actual holding in
       Patel was only that “hotels” in general do not constitute a closely regulated industry.
       Id. at 425-26. And post-Patel, courts have continued to recognize diverse industries
       as closely regulated. See Owner-Operator Indep. Drivers Ass’n v. U.S. Dep’t of
       Transp., 840 F.3d 879, 895 (7th Cir. 2016) (recognizing “commercial trucking” as a
       closely regulated industry); Killgore, 3 F.4th at 1189 & n.4 (recognizing the
       continuing viability of pre-Patel characterizations of “salmon fishing, commercial
       fishing, family day care homes, transportation of hazardous materials, veterinary
       drugs, foreign trade zones, and commercial trucking” as closely regulated
       industries); id. at 1190-92 (determining that the “California massage industry” is
       closely regulated and noting the post-Patel characterization by other courts of “dump
       trucks,” “precious metals,” “commercial trucking” and “pain management clinics”
       as closely regulated); Club Madonna Inc., 42 F.4th at 1249 (identifying “the nude
       dancing and adult entertainment industry” as closely regulated). Since Patel, this
       Court has suggested that “adult entertainment machines” used for gambling are
       “closely regulated,” Rivera-Corraliza, 794 F.3d at 219, and cited pre-Patel caselaw
       to support the conclusion that the pharmaceutical industry is closely regulated, Ricco
       Jonas, 24 F.4th at 734-35.

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       his concession in the district court that the Burger test applies because the DMR

       Rule involves a closely regulated industry. 27

                                         CONCLUSION

             For the reasons set forth above, the Commissioner requests that the Court

       affirm the district court’s dismissal of the Complaint.


       Dated: April 30, 2025                  Respectfully submitted,

                                              AARON M. FREY
                                              Attorney General

                                              /s/ Valerie A. Wright
       THOMAS A. KNOWLTON                     VALERIE A. WRIGHT
       Deputy Attorney General                JACK DAFOE
       Of Counsel                             Assistant Attorneys General
       thomas.a.knowlton@maine.gov            valerie.a.wright@maine.gov
                                              jack.dafoe@maine.gov

                                              Office of the Attorney General
                                              Six State House Station
                                              Augusta ME 04333-0006
                                              Tel. (207) 626-8800
                                              Fax (207) 287-3145

                                              Attorneys for Defendant-Appellee

       27
          In his Motion to Dismiss, the Commissioner explained why commercial fishing,
       of which commercial lobstering is a part, is a closely regulated industry for purposes
       of the Burger test. See Def.’s Mot. to Dismiss at 13-15 (ECF No. 23). The
       Commissioner also explained why the Supreme Court’s decision in Patel does not
       change this conclusion. See id. at 13 n.18. However, these explanations were
       appropriately succinct given that the lobstermen had already conceded in their
       Motion for Preliminary Injunction that commercial fishing is a closely regulated
       industry. See id. at 15 n.20 (citing Pls.’ Mot. for Preliminary Injunction at 12 (ECF
       No. 7)).
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                             CERTIFICATE OF COMPLIANCE

             I hereby certify that this brief complies with the typeface requirements of Rule

       32(a)(5) and the type-style requirements of Rule 32(a)(6). I further certify that all

       text in this opposition brief is in proportionally spaced Times New Roman Font and

       is 14 points in size. I further certify that, according to the word count function of

       the word-processing software used to prepare this opposition brief (Microsoft Word

       365), this brief contains 10,948 words.



                                              /s/ Jack Dafoe
                                              JACK DAFOE
                                              Assistant Attorney General
                                              (207) 626-8868
                                              jack.dafoe@maine.gov

                                              Office of the Attorney General
                                              Six State House Station
                                              Augusta, Maine 04333-0006

                                              Attorney for Defendant-Appellee




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                                 CERTIFICATE OF SERVICE

             I, Jack Dafoe, hereby certify that on April 30, 2025, I electronically filed the

       Brief of Defendant-Appellee with the Clerk of Court using the CM/ECF system,

       which will send notification of such filing to all counsel of record.



                                               /s/ Jack Dafoe
                                               JACK DAFOE
                                               Assistant Attorney General
                                               (207) 626-8868
                                               jack.dafoe@maine.gov

                                               Office of the Attorney General
                                               Six State House Station
                                               Augusta, Maine 04333-0006

                                               Attorney for Defendant-Appellee




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                                                        No. 25-1007

                          IN THE UNITED STATES COURT OF APPEALS
                                   FOR THE FIRST CIRCUIT
       _____________________________________________________________________________________________________________________



                                                 FRANK THOMPSON,
                                                  Plaintiff – Appellant,

    JOEL STROUT; JASON LORD; CHRISTOPHER SMITH; JACK CUNNINGHAM,

                                                        Plaintiffs,

                                                                v.
                             CARL WILSON, in their official capacity as
                         Commissioner, Maine Department of Marine Resources,
                                                 Defendant – Appellee.
       _____________________________________________________________________________________________________________________


          ON APPEAL FROM THE UNITED STATES DISTRICT COURT FOR THE
                DISTRICT OF MAINE (CASE NO. 1:24-CV-00001-JAW)
       _____________________________________________________________________________________________________________________



                               ADDENDUM OF DEFENDANT-APPELLEE
       _____________________________________________________________________________________________________________________



                                                                        AARON M. FREY
                                                                        Attorney General

        THOMAS A. KNOWLTON                                              VALERIE A. WRIGHT
        Deputy Attorney General                                         JACK DAFOE
                                                                        Assistant Attorneys General
        Of Counsel                                                      Six State House Station
                                                                        Augusta, Maine 04333-0006
                                                                        (207) 626-8800

                                                                        Attorneys for Defendant-Appellee



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                Atlantic States Marine Fisheries Commission

          ADDENDUM XXIX TO AMENDMENT 3 TO THE AMERICAN
          LOBSTER FISHERY MANAGEMENT PLAN; ADDENDUM IV
            TO THE JONAH CRAB FISHERY MANAGEMENT PLAN

                 Electronic Vessel Tracking for Federal Permit Holders




                                           March 2022



                         Sustainable and Cooperative Management of Atlantic Coastal Fisheries




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       1.0 INTRODUCTION
       The Atlantic States Marine Fisheries Commission (Commission) has coordinated the interstate
       management of American lobster (Homarus americanus) and Jonah crab (Cancer borealis) from
       0-3 miles offshore since 1996 and 2015, respectively. American lobster is currently managed
       under Amendment 3 and Addenda I-XXVI to the Fishery Management Plan (FMP). Jonah crab is
       managed under the Interstate Fishery Management Plan and Addenda I-III. Management
       authority in the Exclusive Economic Zone (EEZ) from 3-200 miles from shore lies with NOAA
       Fisheries. The management unit for both species includes all coastal migratory stocks between
       Maine and Virginia. The management unit encompasses seven Lobster Conservation
       Management Areas (LCMAs) and two lobster stocks: the Gulf of Maine/Georges Bank
       (GOM/GBK) stock and the Southern New England (SNE) stock (Figure 1).

       The American Lobster Management Board (Board) initiated Addendum XXIX to the American
       lobster FMP and Addendum IV to the Jonah crab FMP (here forth, the Addenda) to consider
       implementing electronic vessel tracking requirements for federally-permitted vessels in the
       lobster and Jonah crab fisheries to collect location and spatial effort data. For several years, the
       Board has recognized the critical need for high-resolution spatial and temporal data to
       characterize effort in the federal American lobster and Jonah crab fisheries. In February 2018,
       the Board approved Addendum XXVI to improve the spatial resolution of lobster and Jonah crab
       harvester data to address ongoing marine spatial planning activities and assessment challenges.
       At the same time, the Board approved a one-year pilot program to test electronic tracking
       devices in the lobster and Jonah crab fishery. The intent of this pilot program was to identify
       appropriate tracking devices for use in the fishery and inform a Board decision on whether
       electronic tracking should be pursued in part, or all, of the lobster and Jonah crab fishery.
       Simultaneously, the Board supported additional work focusing on data integration and
       hardware testing. These projects lay the groundwork for implementing electronic tracking in
       the fishing fleet.

       Based on recommendations from a work group comprising representatives from NOAA
       Fisheries, state and federal law enforcement, and members of the Board, the Addenda were
       initiated to consider requirements for electronic vessel tracking for federally-permitted vessels
       in the lobster and Jonah crab fishery under the authority of the Atlantic Coastal Fishery
       Cooperative Management Act (ACFCMA). The goal of the addendum is to collect high-
       resolution spatial and temporal data to characterize effort in the federal American lobster and
       Jonah crab fisheries for management and enforcement needs. These data will improve stock
       assessment, inform discussions and management decisions related to protected species and
       marine spatial planning, and enhance offshore enforcement.

       2.0 OVERVIEW
       2.1 Statement of the Problem
       To date, the majority of spatial analyses of lobster and Jonah crab fishery data have been
       constrained to NOAA statistical areas and state management areas, hindering the ability to
       quantify effort in specific regions or identify important transit routes and fishing grounds. The

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       application of electronic vessel tracking to this fishery could significantly improve the
       information available to fishery managers and stock assessment scientists. In particular, a
       number of challenges the fishery is currently facing pose a critical need for electronic tracking
       data in the offshore fishery:

          1) The stock assessment is currently limited by the coarse spatial scale of available harvest
             data for American lobster. NOAA Fisheries statistical areas and latitude/longitude
             coordinates are collected on the NOAA Fisheries Greater Atlantic Regional Fisheries
             Office (GARFO) Vessel Trip Report (VTR), however the collected spatial data represent
             the location of where the majority of the fishing effort occurred. The nature of the
             coarse spatial data is insufficient for management and scientific purposes. Though
             harvester reporting at the 10-minute square level was adopted for federally-permitted
             lobster vessels reporting to the states and the federal VTR continued to collect latitude
             and longitude for each trip, the precision of spatial information is not consistent across
             federal permit holders. This finer scale data does not provide the precision to accurately
             apportion effort within the stock units.

          2) Due to interactions between protected marine resources and the lobster and Jonah crab
             fisheries, the fisheries will be required to implement significant risk reduction efforts
             under the Atlantic Large Whale Take Reduction Plan. These risk reduction efforts are
             based on models that estimate the location of vertical buoy lines using effort data of a
             similarly coarse resolution.

          3) Recent executive orders have prioritized the development of offshore renewable energy
             and the conservation of US waters. The development of emerging ocean uses such as
             wind energy, aquaculture, and marine protected areas may all create marine spatial
             planning challenges for the lobster and Jonah crab fisheries.

          4) The large geographic footprint and low density of lobster gear in the offshore federal
             management area makes it difficult to locate gear for compliance checks, reducing the
             efficiency and efficacy of offshore enforcement efforts.

       Each of these issues pose an acute need for high-resolution data on where and when fishery
       effort in the federal fleet occurs. Electronic tracking requirements in the federal fishery would
       fill this information gap and support fishery managers in addressing the aforementioned
       challenges.

       2.2 Background

           2.2.1 Electronic Tracking Pilot Program
       When Addendum XXVI/III to the Lobster and Jonah Crab FMPs, respectively, were approved in
       February 2018, a one year pilot program was established to test electronic tracking devices on
       lobster and/or Jonah crab fishing vessels. Given the variety of vessels and the spatial
       distribution of the fishery (both in distance from shore and breadth along the coast), the pilot

                                                        2

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       program tested multiple tracking devices in various conditions to identify technologies for use
       the lobster and Jonah crab fisheries.

       The project assessed tracking devices from several different vendors by placing them on
       volunteer vessels from Maine and Massachusetts with lobster permits from June 2019 to May
       2020. The project evaluated the technologies by looking at ease of compliance (or non-
       compliance), ability to determine trap hauls from steaming activity, industry feedback, cost-per
       fisherman, and law enforcement feedback. The results of the pilot showed that though the
       devices differed somewhat in features and performance, they all were able to deliver vessel
       positions and detect individual trap hauls. It also found that cellular based systems were both
       lower in cost and permitted faster ping rates than satellite systems. For example, the costs
       associated with cellular tracking devices tested during the pilot program range from $150 to
       $650 for the initial purchase of the tracking unit, and annual data service plans that would meet
       the proposed tracking requirements range from $191 to $420 per year. These costs are
       provided as examples only and may change dependent on which devices are approved for use
       in the fishery.

       In addition to the pilot program testing tracking devices, the Board supported work on data
       integration and additional hardware testing. Specifically, this project focused on linking spatial
       data collected on vessel tracking devices to harvester reports submitted on eTrips Mobile.
       Recognizing the critical need for data to characterize spatial and temporal effort of the lobster
       fishery and the potential of available technology to address this need at low costs, the Board
       initiated Addendum XXIX in August 2021 to consider the adoption of electronic tracking devices
       in the federal fleet of the lobster and Jonah crab fisheries.

           2.2.2 Stock Assessment
       A complicating factor in the management of lobster is that the boundaries of the LCMAs do not
       align with the biological boundaries of the stocks (GOM/GBK vs. SNE). This is particularly
       problematic in LCMAs 2 and 3 which span both stocks. The intricacy of the stock boundaries is
       further complicated by the fact that many vessels fishing out of Rhode Island and
       Massachusetts that harvest lobsters on Georges Bank, must travel through the SNE stock area
       to reach their port of landing. In addition, these vessels may be permitted to fish in multiple
       management areas, including areas that span both lobster stocks.

       To date, the stock assessment has only been able to analyze stock composition data at the
       spatial resolution of the NOAA statistical area. This is because not all lobster permit holders
       report at a finer scale than the NOAA statistical area; for each trip some provide a single
       latitude and longitude point meant to represent where the majority of fishing occurred, some
       provide 10 minute square(s) fished, and some provide only the statistical area fished. This
       creates challenges for the assessment because some parameters in the stock assessment model
       vary at a finer spatial scale than statistical area. For example, size composition data for lobster
       catch are currently generated by matching statistical area-specific total harvest data and
       biosampling data, but preliminary work has indicated size composition varies at a finer spatial
       scale. Improved spatial resolution of total harvest data from vessel tracking will improve size

                                                       3

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       composition data used in the stock assessment models to improve the accuracy of exploitation
       and reference abundance estimates.

           2.2.3 Fishery Interactions with Right Whales and Protected Resources
       To meet the goals of the Marine Mammal Protection Act and the Endangered Species Act,
       NOAA Fisheries recently published a final rule to amend the regulations implementing the
       Atlantic Large Whale Take Reduction Plan (ALWTRP) to reduce the incidental mortality and
       serious injury to North Atlantic right whales (Eubalaena glacialis), fin whales (Balaenoptera
       physalus), and humpback whales (Megaptera novaeangliae) in commercial lobster and Jonah
       crab trap/pot fisheries in the Northeast Atlantic (86 FR 51970). This action is being taken to
       reduce the risks to endangered North Atlantic right whales and other large whales associated
       with the presence of fishing gear in waters where these animals occur. The ALWTRP includes a
       significant reduction in the number of vertical buoy lines in the fishery in order to reduce right
       whale encounters with buoy lines. Weak rope requirements are included to reduce mortalities
       and serious injuries when entanglements do occur by increasing the chance of right whales
       freeing themselves from gear. The ALWTRP also includes changes to seasonal restricted areas
       closed to pot/trap gear that uses stationary vertical buoy lines. Current and future
       requirements for gear modifications are expected to have a substantial economic impact on the
       fishing industry.

       The required risk reductions included in the ALWTRP are informed by the co-occurrence model,
       which pairs information regarding the distribution of whales and commercial fishing gear to
       predict areas where whales may be prone to entanglement. Electronic vessel tracking data
       would significantly improve the models used to assess the location of vertical lines in the fishery
       and their associated risk to right whales in the ALWTRP. The Biological Opinion 1 released in May
       2021 outlines a Conservation Framework that intends to reduce mortality and serious injury to
       North Atlantic Right Whales by 95% over ten years. Within this Framework, additional risk
       reductions could be required in the US lobster fishery starting in 2025. Therefore, it is critical to
       gather and provide updated and enhanced spatial effort data to improve the associated risk
       reduction models ahead of this timeline.

            2.2.4 Marine Spatial Planning
       It is critically important to record the footprint of the US lobster fishery as spatial allocation
       discussions occur as a result of emerging ocean uses such as aquaculture, marine protected
       areas, and offshore energy development. For example, in 2016, the New England Fishery
       Management Council (NEFMC) took action on an Omnibus Deep-Sea Coral Amendment, which
       looked to provide protection to corals in the northwest Atlantic Ocean through the creation of
       discrete regions and/or broad depth zones. Given the harvest of lobster and Jonah crab occurs
       offshore, the Commission was asked to provide information on the magnitude of lobster and
       Jonah crab catch in specific regions in order to understand potential economic impacts. At the

       1
        The Biological Opinion issued on May 27, 2021 can be found here:
       https://www.greateratlantic.fisheries.noaa.gov/public/nema/PRD/Final%20Fisheries%20BiOp_05_28_21.pdf?fbcli
       d=IwAR3ombXyORsm5o0aFYuoU84W-oUUIEMQUIK5_bqv2FnmVRuEBV3p_pFOenA

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       time, the lobster and Jonah crab fishery management plans required harvesters to report
       landings via NOAA statistical areas, regions much larger than those being considered for coral
       protection. As a result, the spatial resolution of catch and effort data for the lobster and Jonah
       crab fishery proved too coarse; without fine scale spatial information, impacts to the lobster
       and Jonah crab fishery had to be estimated by piecing together information from harvester
       reports, industry surveys, and fishermen interviews. Similar challenges occurred when the
       Northeast Canyons and Seamounts Marine National Monument was established in 2016, and it
       is expected that these challenges will continue given increased activity surrounding offshore
       wind, aquaculture, and oil and gas exploration. Additionally, in January 2021 President Biden
       issued an Executive Order on Tackling the Climate Crisis at Home and Abroad. Included in this
       Executive Order is a goal of protecting 30% of US waters by 2030. Given this goal,
       documentation of the US lobster fishery footprint is essential for consideration in future
       discussions and decisions regarding marine protected areas.

           2.2.5 Offshore Enforcement
       A potential benefit of collecting electronic vessel tracking data is the ability to improve
       enforcement in the offshore area. It has long been recognized that enforcement efforts in the
       offshore federal lobster fishery need to be improved, a particular concern given the rapid
       increase in landings and value during the last decade. As a result, there are ongoing efforts to
       enhance enforcement capabilities, including discussions around an offshore enforcement vessel
       capable of hauling and re-setting long trawls.

       Enforcement personnel have consistently noted that having the ability to differentiate when a
       boat is steaming versus hauling is critical to efforts to inspect gear and identify when fishermen
       are using illegal gear. Even if location data are not reported in real-time, once a fishing location
       can be identified from vessel tracking data, enforcement personnel would be able to go to that
       location to inspect gear for appropriate markings, buoys, escape vents, and ghost panels. Given
       finite enforcement resources, information on distinct fishing locations would improve the
       efficiency and capability of offshore enforcement efforts.

       3.0 MANAGEMENT PROGRAM
       This section adds to Section 3.1 of Addendum XXVI to American Lobster Amendment 3 and
       Section 3.4.1 of the FMP for Jonah Crab under the adaptive management procedures
       established in section 3.6 of the FMP for American Lobster and 4.4 of the FMP for Jonah Crab.
       The intent of the selected management program is to enhance harvester effort data collection.

       Addendum XXIX (American lobster) and IV (Jonah crab) implement electronic tracking
       requirements for federally-permitted lobster and Jonah crab vessels with commercial trap gear
       area permits.

       Federal lobster and Jonah crab vessels issued commercial trap gear area permits are required
       to install an approved electronic tracking device to collect and transmit spatial data in order to
       participate in the trap gear fishery. This means any federally-permitted vessel without an
       approved electronic tracking device is prohibited from landing lobster or Jonah crab taken with

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       trap gear. Federal permit holders are required to install and activate an approved device prior
       to beginning a lobster or Jonah crab fishing trip with trap gear. The device must remain on
       board the vessel and powered at all times when the vessel is in the water, unless the device is
       authorized to power down by the principal port state. Possible reasons for authorization to
       power down include but are not limited to vessel haul out/repairs and device failure reported
       to the principal port state. Tampering with an approved tracking device or signal is prohibited;
       tampering includes any activity that may affect the unit's ability to operate or signal properly,
       or to accurately compute or report the vessel's position. These requirements apply to all federal
       permit categories included in Table 1.

       Table 1. Applicable Federal Permit Categories*

           Federal Permit Category         Federal Permit      Description
           Name                            Category Abbr.
           Commercial Trap Gear Area 1     A1                  May harvest lobster in Federal Lobster Management
                                                               Area 1 using trap gear
           Commercial Trap Gear Area 2     A2                  May harvest lobster in Federal Lobster Management
                                                               Area 2 using trap gear
           Commercial Trap Gear Area 3     A3                  May harvest lobster in Federal Lobster Management
                                                               Area 3 using trap gear
           Commercial Trap Gear Area 4     A4                  May harvest lobster in Federal Lobster Management
                                                               Area 4 using trap gear
           Commercial Trap Gear Area 5     A5                  May harvest lobster in Federal Lobster Management
                                                               Area 5 using trap gear
           Commercial Trap Gear Outer      AOC                 May harvest lobster in Federal Lobster Management
           Cape Area                                           Outer Cape Area using trap gear

       Commercial Trap Gear Area 6 is excluded, as the area occurs in state waters and requires a valid
       CT or NY state lobster license to fish in this area. If a vessel is permitted for Commercial Trap
       Gear Area 6 only, these requirements do not apply. Additionally, these requirements do not
       apply to vessels that hold an Area 5 Waiver Permit 2 and no other lobster trap gear area
       permits.

       For additional clarity on situations for which the electronic tracking requirements do not apply,
       several examples are provided below:
           • A person with a state-only lobster permit and no federal commercial trap gear area
              permit
           • A permit holder with federal commercial trap gear permit that has been placed in
              confirmation of permit history (CPH), a permit status for when a vessel with limited


       2
         The Area 5 Waiver is a permit category that may be selected by federal lobster permit holders with an Area 5 trap
       allocation who also hold a federal black sea bass permit. By opting into the Area 5 Waiver, permit holders are
       exempted from the more restrictive lobster trap gear specifications and trap tagging requirements to target black
       sea bass with unbaited traps. While in the Area 5 Waiver category, the vessel may retain the non-trap possession
       limit of 100 lobsters per day or up to 500 lobsters for a trip of 5 or more days.

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               access permits has sunk, been destroyed, or has been sold to another person without its
               permit history
           •   A vessel with a federal lobster commercial trap gear permit listed in Table 1 that does
               not fish trap gear at any point in the fishing year (i.e., only fishes other gear under a
               federal lobster commercial/non-trap permit, charter/party non-trap permit, and/or
               does not fish any trap gear at any point in the fishing year)

       Specifications required of tracking devices to be approved for use in the fishery are described in
       Section 3.1. Administrative processes for the tracking program are described in Section 3.2. A
       separate document will be developed that will include additional details and standard
       operating procedures to guide the management agencies in implementing the vessel tracking
       requirements.

       3.1 Tracker Specifications and Approval

           3.1.1 Required Components and Minimum Technological Standards
       The minimum criteria that must be met by tracking devices and product vendors for approval
       for use in the fishery are summarized in Table 2. Additional details on these requirements is
       included in the subsequent sections.

       Table 2. Required criteria for approval of vessel tracking devices and vendors
        Requirements of Tracking Devices and Vendors
         • Collection of location data at a minimum rate of one ping per minute for at least 90% of
           the fishing trip
         • Data events must contain device’s current datetime, latitude, longitude, device and
           vessel identifier
         • Minimum accuracy of 100 m (328.1 ft) accuracy and position fix precision to the decimal
           minute hundredths
         • Ruggedness specifications allowing function in the marine environment
         • Ability to PUSH location data to the ACCSP trip locations API
         • Vendor customer service requirements
         • Vendor must maintain the confidentiality of personally identifying information and other
           protected data in accordance with federal law

       Data Collection Rates

       A tracking device must collect location data at a minimum rate of one ping per minute for at
       least 90% of the fishing trip. A “ping” refers to a data event created by a tracking device
       containing the device’s current datetime, latitude, longitude, device/vessel identifier and other
       optional data fields. The above rate is necessary to distinguish lobster fishing activity from
       transiting activity and can allow estimation of the number of traps per trawl (See Appendix A).
       Data transmission from the tracking device to the vendor should be initiated as soon as possible
       but no more than 60 minutes from the time the fishing trip is completed.

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       If the tracking device can determine when the vessel is in its berth, the device may
       automatically decrease the tracker ping rate. If the device is unable to automatically detect a
       berth location, the device must remain connected and pinging at one ping per minute at all
       times. This recommendation is designed to permit vendors’ efforts to minimize cellular data
       and power consumption while the vessel is in port. For example, if pinging at a slower rate in
       the port, the tracking device could run on an internal battery and sleep between pings to save
       power versus being hard-wired to the vessel’s power system. Additionally, this feature would
       improve data quality and allow for validation of track data against self-reported VTR trip start
       and end times.

       Precision and Accuracy Requirements

       A tracking device must meet minimum precision and accuracy requirements, specifically a
       minimum of 100 m (328.1 ft) accuracy and position fix precision to the decimal minute
       hundredths. It is expected that most modern tracking devices will be capable of significantly
       higher accuracies than 100 m.

       Tracking Hardware Considerations

       A tracking device must have ruggedness specifications that allow it to function in the marine
       environment, which may depend on where the device is installed on the vessel.

       No specific requirement is specified for how a device shall be powered, provided that the
       tracking device can satisfy the technical requirements set forth in this section. Devices will likely
       be powered by some combination of vessel power, internal battery, and/or solar. The
       Commission level work group will be responsible for determining whether a device satisfies
       hardware requirements.

       Data Submission Requirements

       Tracking vendors must be able to PUSH location data to the Atlantic Coastal Cooperative
       Statistics Program (ACCSP) trip locations API and meet all specifications of this interface
       (https://accsp-software.github.io/spec-unified-api-
       prod/#tag/eTrips/paths/~1trip_locations/post). In addition to the device identifier, datetime,
       latitude, and longitude, vendors must also include a vessel identifier (Coast Guard number or
       state registration number) in the API submission. This data element is necessary to identify the
       vessel the device is tracking at the time of the ping. Data transmission from the vendor to the
       ACCSP trip locations API should occur in near real time upon receipt.

       Tracking vendors must send test data to the ACCSP trip locations API as proof of the ability to
       satisfy the data submission requirements. The vendor is expected to have a mechanism for
       setting the vessel identifier in the administrative web interface to their tracking system.


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       Customer Service Requirements

       Device vendors serve as the primary contact for the vessel tracking devices distributed by their
       company. This includes technical support related to hardware and any device-specific software.
       Vendors should provide diagnostic and troubleshooting support to permit holders, state
       agencies, and ACCSP, which is available seven days per week and year-round. Response times
       for customer service shall not exceed 24 hours. Detailed installation instructions must be
       provided to permit holders or their designated agents by vendors. Procedures must be
       established that assist permit holders to properly maintain their device. In the event of tracker
       malfunction, vendors must be available to troubleshoot, repair, or replace the device. Vendors
       must have the capability to diagnose and resolve communication anomalies with permit
       holders or state agencies. Upon request of ACCSP, state partners, or NOAA Fisheries, vendors
       must be available to assist with vessel tracking system operation, resolving technical issues, and
       related data analyses.

           3.1.2 Device Approval Process
       The approval of vendors and devices is undertaken by a Commission-level work group process.
       The work group is comprised of state, federal, and Commission staff. Changes to the
       requirements of tracking devices can be made by this working group with approval of the
       Lobster Board. The work group reviews device specifications to determine if a device meets the
       required components and minimum technological standards. Vendors are required to provide
       the ASMFC work group with the information in Table 3.

       Table 3. Information that must be submitted by vendors to device approval work group
    Information to be provided by vendors for work group review and device approval
     • Company information (name, contact, etc.)
     • Customer service policy/capabilities (what assistance can be provided for troubleshooting)
     • Complete cost information for devices and data
     • Devices capable of a one ping per minute rate
     • Whether devices can detect when the vessel is berthed/in port
     • Precision (fixed) of 5 decimal places and accuracy capability (100 m max)
          o Does device evaluate quality of positional fix prior to pinging or does it just ping every minute?
          o Is the device capable of reporting horizontal accuracy and/or any other ping metadata?
     • Which cellular providers and bands the device utilizes
     • Whether vendor can PUSH the vessel ID (Coast Guard number or state registration number) as part
        of the location data to the ACCSP trip locations API, as well as meet all additional provisions of this
        interface: (https://accsp-software.github.io/spec-unified-api-
        prod/#tag/eTrips/paths/~1trip_locations/post)
     • Power supply specifications
     • Installation instructions/requirements
     • Ruggedness specifications
     • Ability to maintain the confidentiality of personally identifying information and other protected
        data in accordance with federal law

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       3.2 Administrative Processes
       This section describes the required administrative processes that must be implemented at the
       state and federal level to facilitate the collection and management of data under the electronic
       vessel tracking requirements for federal permit-holders in the lobster and Jonah crab pot/trap
       fisheries. Additionally, it describes the recommended roles and responsibilities of the states,
       federal agencies, and ACCSP in the processes involved in data reporting, validation, and
       management.

          3.2.1 State-Level Administrative Processes

       Certification of Device Installation

       States must certify the installation and activation of approved vessel tracking devices for permit
       holders whose principal port listed on the federal fishery permit is within their state. Principal
       port is contained in the GARFO permit data which will be made accessible to states. An affidavit
       with uniform language is distributed by the states to permit holders (see Appendix B for
       affidavit language). This affidavit certifies an approved tracking device is installed on each
       vessel and is activated for transmitting spatial data. These requirements apply to all fishing trips
       regardless of the landing state, trip type, location fished, or target species. Each affidavit must
       be signed and returned to states prior to departing on the first fishing trip after the program
       implementation date. For initial implementation of this project, states will collaborate to define
       a deadline by which permit holders will need to have a certified tracker installed. A state may
       require additional information to certify installation such as photographs, notarized affidavits,
       or inspections, but this is not required.

       GARFO provides states with American lobster-trap gear area permit ownership information,
       enabling states to contact permit holders and complete the process of certification of
       installation. In the event a vessel tracker is transferred between permit holders, states will
       instruct harvesters to contact tracking device vendors to complete the transfer of a vessel
       tracker.

       Permit Holder Support

       State agencies will communicate with permit holders to assist them in properly complying with
       the vessel tracking requirements. States are expected to respond to general inquiries from
       permit holders that land in their state, troubleshoot where feasible, and transfer inquires to the
       appropriate body for answers as needed (e.g., device issues to the vendors, electronic reporting
       app issues to the appropriate electronic vessel trip report provider help desk, etc.). Staff should
       be available to confirm with harvesters that vessel tracks are being received by ACCSP. States
       are not required to aid with the installation or troubleshooting of vessel trackers. If there is an
       issue with hardware or software related to tracker, states may assist the permit holder in
       contacting device vendors. It is the permit holder’s responsibility to work with the vendor when
       they discover or are notified by the state of an issue.


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       Data validation and compliance monitoring is the responsibility of the states. States contact
       permit holders to resolve data issues for trips landing in their state. Specifically, state agencies
       are tasked with resolving mismatches between vessel trip reports and associated vessel
       tracking information, or when tracking data are missing or incomplete. Additionally, states must
       validate that the data collected from a tracker meets the specifications defined by ASMFC.
       The administrative processes for permit holder support will be further developed and refined
       prior to implementation of the management program. A final data validation system and
       protocol will be developed by ACCSP and state and federal partners. This will include
       developing and testing data QA/QC for each jurisdiction prior to implementation of the
       program.

           3.2.2 Federal-Level Administrative Processes
       The following processes are the responsibility of GARFO to facilitate the implementation of the
       tracking program:

       Federal Permit Data

       To successfully administer a vessel tracking program, states will need access to up-to-date
       Federal American lobster permit data. GARFO will provide states with American lobster-trap
       gear area permit ownership information. The following information will be available:
           • Vessel permit number
           • Vessel name
           • Hull ID (state registration or US Coast Guard Documentation Number)
           • Permit endorsement
           • Permit issuance date
           • Permit expiration date
           • Permit-holder name
           • Permit-holder contact information
           • Principal port and state

       Electronic Vessel Trip Report Data Processing

       Upon completion of rulemaking to implement federal harvester electronic vessel trip report
       (eVTR) requirements for federal lobster permits, GARFO will incorporate federal lobster eVTR
       data into its quality assurance program. Electronic reporting applications ensure the submission
       of complete and valid vessel trip reports, but do not ensure quality. Upon submission, eVTRs
       will be further validated to ensure a high level of data quality. Errors identified through the
       quality assurance program will be resolved through GARFO outreach efforts resulting in
       corrections and resubmissions of eVTR. Federal eVTR data will be available to ACCSP in near
       real-time, which can be used by ACCSP and state partners in identifying fishing activity in the
       vessel tracking data.




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           3.2.3 Data Reporting, Validation and Management Processes
       This section outlines the expected processes for data reporting, validation and management for
       electronic vessel tracking. It also identifies the recommended roles and responsibilities of state
       and federal agencies and partner organizations in administrating these data processes.

       Data Dissemination and Confidentiality

       ACCSP maintains the confidentiality of trip and location data that have been submitted to
       ACCSP via API in addition to the trip data already maintained under its authority. Data is
       accessible to the appropriate state or federal entities with confidential data access. A map
       interface will be available in the SAFIS Management System (SMS) for authorized federal and
       state administrators to query and visualize trip locations.

       Data Flow

       ACCSP supports data flows for integrated and non-integrated trip report and location data from
       American lobster and Jonah crab federal permit holders required to collect location data via an
       approved tracking device. Figure 1 shows the flow of trip data and location data (vessel tracks)
       from the vessel to the ACCSP SAFIS database. Each step is broken down and described below.




       Figure 1. Vessel Tracking Data Flow




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       Trip Data

       EVTR data must be submitted using a NOAA Fisheries GARFO approved eVTR application. All
       eVTR submissions are available in SAFIS at or near real-time.

       Location Data (Vessel Tracks)

       Tracking vendors must submit location data to the SAFIS database via the ACCSP trip locations
       API. Vendors will need to obtain the necessary API key, and devices must be capable of
       providing data in accordance with the API specifications.

       SAFIS API

       All parties, including ACCSP partners and vendors, submitting trip data and/or location data to
       the SAFIS Unified API (https://accsp-software.github.io/spec-unified-api-prod/) will need to
       obtain the necessary API keys and must be able to provide data in accordance with the API
       specifications.

       Data Management

       ACCSP maintains the database structures and processing required to store trip and location
       data. ACCSP will develop a process to match non-integrated trip and location data after they
       have been submitted to ACCSP. The trip ID will be assigned to the appropriate trip location
       data. The system will require the following by each partner:
          • NOAA Fisheries is responsible for providing vessel registration (hull ID) and vessel permit
              number data contained in eVTR data to ACCSP. All eVTR data submitted to GARFO will
              be sent to ACCSP via API at or near real-time.
          • State management agencies are responsible for working with tracking vendors to ensure
              data are being sent to ACCSP in accordance with the requirements outlined for
              certification. Two levels of coordination will be in place.
                  o In Level 1, the device approval work group will coordinate with the vendor to
                      address overall device issues that have arisen post certification.
                  o In Level 2, individual state management agencies will work with the permit
                      holder(s) to resolve issues specific to a single or small number of isolated
                      devices.
                  o Details on the roles and responsibilities for specific issues are outlined in the
                      standard operating procedures document.
          • Vendors will submit accurate vessel registration information and other required data
              elements to the ACCSP Trip Location API.

       ACCSP is responsible for running trip matching programs at specified intervals. Criteria for
       matching reported trip data with location data will be developed with federal and state input.
       Data auditing reports, as specified in the standard operating procedures document, will be
       made available to the appropriate state and/or federal entities with confidential data access.
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       Data Quality

       GARFO and the state management agencies are responsible for data reporting compliance;
       GARFO is responsible for validation of eVTR data, and state management agencies are
       responsible for validation of trip location data. The matching of trip and location data by ACCSP
       is subject to the accuracy of the trip report data.

       4.0 COMPLIANCE
       This Addendum is effective on December 15, 2023.

       5.0 RECOMMENDATIONS FOR ACTIONS IN FEDERAL WATERS
       The management of American lobster in the EEZ is the responsibility of the Secretary of
       Commerce through the National Marine Fisheries Service. The Atlantic States Marine Fisheries
       Commission recommends that the federal government promulgate all necessary regulations in
       Section 3.0 to implement complementary measures to those approved in this addendum. The
       Commission requests that NOAA Fisheries publish the final rule on vessel tracking by May 1,
       2023, with implementation no later than December 15, 2023.

       6.0 REFERENCES
       Atlantic States Marine Fisheries Commission (ASMFC). 1997. Amendment 3 to the Interstate
       Fishery Management Plan for American Lobster.

       ASMFC. 2015. American Lobster Benchmark Stock Assessment and Peer Review Report.

       ASMFC. 2020. American Lobster Benchmark Stock Assessment and Peer Review Report.




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        Appendix A. Ping Rate Analysis

      Introduction

      Goals of High-Resolution Tracking Data

      Extracting Effort from Tracking Data

      Ping Rate Analysis

      Case Studies from Other Trips

      Data Size Considerations

      Conclusions

      References



      Lobster Vessel Tracking Ping Rate
      Analysis
      Bill DeVoe, Maine Department of Marine Resources,
      William.DeVoe@maine.gov (mailto:William.DeVoe@maine.gov)
      9/23/2021

      Introduction
      Conversations regarding requirements for cellular-based vessel tracking in the federal lobster fishery
      have repeatedly recommended a one-minute ping interval as being necessary to distinguish fishing
      from non-fishing activity. This analysis utilizes data collected from tracking devices deployed on federal
      lobster vessels off the coast of Maine to illustrate the ability to discern and quantify effort at varying ping
      rates.


      Goals of High-Resolution Tracking Data
      The primary goal considered in this analysis is to utilize high-resolution tracking data to extract the
      locations and size of trawls. These locations can be used to quantify vertical line concentrations
      spatiotemporally. Although a harvester report may be available with additional information on gear
      configuration, such as the number of sets or total number of traps, tracking data of sufficient resolution
      should be capable of predicting gear configuration and gear quantities. Collecting this information from
      tracking data would likely provided higher accuracy and could ease reporting burdens on harvesters.

      Five trap trawls are currently the smallest permissible trawl that can be fished in federal waters of the
      Gulf of Maine. While there may be future utility in detecting smaller gear events, this analysis will
      consider the necessary minimum detectable gear size to be a five trap trawl.


      Extracting Effort from Tracking Data
      The following overview of current methods for automated extraction of trawl locations from lobster
      fishing tracking data is provided before analyzing the impact of ping rate on the ability to discern effort.
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     Machine learning models generally fall into the categories of supervised and unsupervised. Supervised
     models are built using groundtruthed training data containing classified events to train a model to
     predict the probability of those events in unclassifed data. For example, lobster tracking data where
     each ping was labeled as hauling/non-hauling based on a hauler sensor or observer data could be
     used to build a supervised model. Unfortunately, at present there are few instances of high-resolution
     classified lobster fishing tracking data. As such, the following details current efforts to produce an
     unsupervised effort detection model based on several prevalent unsupervised machine learning
     techniques.

     Estimation of fishing effort based on velocity alone has been shown to overestimate fishing effort in
     some fisheries (Arasteh et al. 2020). Different vessels transit at varying speeds, and even for a single
     vessel within a single trip, transiting speeds may vary based on sea conditions. However, within the
     lobster fishery the density distribution of velocity as calculated between sequential points in a trip
     typically exhibits a bimodal or multimodal pattern corresponding with vessel activity (steaming, hauling,
     and setting.) Gaussian Mixture Modeling (GMM) has been utilized successfully to classify vessel
     activity in Scottish small-scale fisheries, including those fishing 10-50 trap trawls for European lobster.
     Establishing velocity thresholds using a GMM calculated on a per trip basis was shown to be effective
     at correctly labeling vessel activity, and also had rapid processing times compared with other models
     (Mendo, Smout, Photopoulou, et al. 2019). This study also found that multivariate models incorporating
     turning angle between pings resulted in minimal increases in activity detection accuracy, likely because
     hauling of trawls often presented as straight trajectories similar to transiting. Since tracking data for
     lobster vessels demonstrates similar patterns, velocity is therefore used as the primary variable to
     classify vessel activity within this analysis.

     The following example uses tracking data obtained from a Succorfish SC2 pinging at a one-minute
     interval. The vessel was fishing ten trap trawls and was carrying a DMR observer who recorded a GPS
     point at the beginning of each trawl.

     All processing in this analysis was completed in R 4.0.1 on a 64-bit Windows machine (R Core Team
     2020), relying heavily on the tidyverse (Wickham 2019), sf (Pebesma 2018) and Rcpp (Eddelbuettel
     2013) packages.

     Preprocessing
     Raw tracking data was pre-processed to split the data into daily tracks and calculate metadata for each
     ping. This metadata most notably included the spatial and temporal difference between successive
     pings. Once tracking data had been divided into tracks, polyline features for each track were also
     created in pre-processing. Pre-processing was handled by a R/C++ package created by the author,
     and details of this processing are beyond the scope of this analysis.

     Removal of Pings-in-Port
     The removal of pings in port is necessary prior to analysis of vessel tracking data. This was
     accomplished programmatically by taking the first and last point in the trip and calculating the distance
     between them. If the distance was below a reasonable threshold for indicating the vessel returned to
     port, points within a given radius of the centroid of the first and last point in the track were removed.
     Spatial filtering of pings within known port areas can also be utilized to remove pings in port from
     tracking data (Mendo, Smout, Photopoulou, et al. 2019).

     After removal of pings in port, the minimum and maximum datetimes of the remaining points were used
     to calculate the trip start and end times, as well as the total trip temporal and spatial length.

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     The following plot shows the velocity for each point in the example trip, along with the timestamps of
     known trawl locations from the onboard observer.




     Gaussian Mixture Model
     The vector of velocities between sequential points in the trip was used to fit a Gaussian Mixture Model
     using the mixtools (Young et al. 2020) R package as per the method described in Mendo, Smout,
     Photopoulou, et al. (2019). An expectation-maximization (EM) algorithm was utilized to fit the model to
     three components corresponding to steaming, hauling, and setting activity. The upper threshold for
     hauling velocity was defined as 2 SD from the mean of the first distribution (Ibid). Since setting of gear
     can be difficult to detect and may overlap speeds used when hauling and steaming, a more
     conservative estimate from the upper hauling limit to the mean of the second distribution was utilized to
     classify gear setting. Steaming was classified using velocities above the second mean.

     The velocity density distribution (dashed) and the normal distributions resulting from the EM fitted GMM
     for the example trip are shown below. Velocities corresponding to hauling (red), setting (green) and
     steaming (blue) are also highlighted.




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     Initial Activity Classification
     Points in the trip track were than classified using the velocity thresholds established by the GMM.




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     Delineation of Hauls and Sets
     Since above plot shows only individual pings classified as activities, clustering of classified points was
     necessary to identify discreet hauling and setting events. This also allowed for the removal of
     misclassified pings based on filtering criteria, for example a single ping classified as setting between
     two clusters of hauling pings.

     Trip data was filtered into pings representing hauling and setting, and a matrix of the time difference in
     minutes between all pings in each data set was calculated. Hierarchical clustering was performed on
     the resulting matrices, using the single linkage method. The single linkage method clusters points
     based on the minimum distance between clusters; in this case, “distance” was the minimum time
     difference in minutes between distinct hauls and sets.

     For this analysis, a common sense value of 2.1 minutes between hauls was utilized, such that at
     minimum one ping would occur between successive haul events. The same value was utilized for
     clustering sets. Deriving the value to cut the hauling clustering tree using the above GMM method
     applied to the sequential distance between hauling pings could be another approach, but was not
     explored in this analysis.

     The dendrogram of hierarchal clustering of pings classified as hauling in the example trip is shown
     below, produced using the R package ggdendro (de Vries and Ripley 2020).




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     Constrictions on the minimum haul temporal length and maximum set temporal length were also
     applied to all trips, such that hauls less than 2 minutes and sets greater than 6 minutes were excluded.
     In production, these values could be adjusted based on the spatial area fished or on gear configuration
     details from a harvester report.

     In the following plot, the duration of the parsed hauling and setting events from the example trip are
     highlighted. Observer-derived points were within the extracted haul spans, with the exception of one
     point that appeared to have been taken after the haul was complete. Detection of setting was much
     more difficult.




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     Ping Rate Analysis
     In the following scenarios, tracking data from trips fishing a variety of gear configurations were
     subsampled to lower ping rates. The above method of detecting effort was utilized, with notable
     differences in the ability to detect vessel activity occurring as ping rate decreased.

     The first example used the same trip fishing ten trap trawls as above. GMM results were similar at
     different ping rates, with the exception of three minutes.




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     Trawls were detected at the one, two and three minute ping rates.




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     Trawl Location vs Trawl Size
     In the plot above, clusters of pings around known trawl locations remain visible at ping rates slower
     than one minute. The one-minute and two-minute time series demonstrate flat-bottomed valleys
     corresponding to trawls. As the ping rate decreases, fewer pings occur during the haul and the pattern
     becomes more saw-toothed; there is still an indication of fishing activity, but the temporal resolution of
     the haul length decreases as the amount of time each ping represents increases. If the ten trap trawls
     fished in this example trip took 15 minutes to haul, at a one minute ping rate the temporal length of the
     haul could be estimated within 12% of the actual haul length (15 minutes +/- 1 minute). At a 5 minute
     ping rate, if the detected haul consisted of only one ping, this could represent anywhere from 5-15
     minutes of fishing effort. Faster ping rates are therefore essential to estimating trawl size; measured
     temporal/spatial lengths of trawls combined with the minimum and maximum trawl sizes permitted in
     the area fished could provide probabilities of trawl size.

     The Rhythm of Work
     The plot above also shows a consistent rhythm of hauling familiar to anyone who has worked in fixed
     gear fisheries. In many cases hauling is so consistent that a frequency corresponding to the haul time
     can be detected in tracking data. This may also be another possible future method for detecting trawl
     configurations. In the plot below, the Fast Fourier Transform has been taken of the velocity time series
     at different frequencies. The resulting spectral densities demonstrate the occurrence of repeating
     frequencies within the time series (likely the length of the trawl including setting). Note how the 1
     minute and 2 minute time series have sharply defined peaks at 15 minutes, while the peaks widen to
     either side of 15 minutes as the ping rate decreases.




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     Another spectral analysis from a vessel fishing 15+ trap trawls is shown below, indicating a haul/set
     period of about 20 minutes. Other frequencies become more prevalent than the 20 minute signal at
     slower ping rates. It is likely that cleaner spectral densities would be acquired by applying the Fast
     Fourier Transform to vectors of pings classified as hauling/non-hauling versus raw velocity. However,
     the utility of this method in analyzing vessel tracking data has yet to be determined, and is presented
     more as a curiosity and comment on the consistency of hauling in the lobster fishery.




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                                                     Lobster Vessel DatePing
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     Case Studies from Other Trips
     Mix of 5-10 Trap Trawls
     The following trip consisted of a mix of trawl sizes between 5 and 10 traps per trawls. Larger trawls
     were fished at the beginning and end of the trip, with shorter trawls in the middle. Several gear events
     that appeared in the spatial data to be sets (no hauling) were correctly classified. Detection of all trawls
     decreased at slower ping rates; most notably, the smaller trawls became harder to detect even at a 2
     minute rate, with some trawls only being represented by a single ping.




                                                          26
                                                                                           COMM'R ADD-30
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                                                                          COMM'R ADD-31
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     Spectral analysis of this trip showed no strong signals corresponding to haul periods for the different
     gear configurations; it is possible that applying the Fast Fourier Transform using windowed approach
     (iterating over the trip subsetting 1-hour window for example) may allow for detecting of haul period
     signals for mixed gear configurations.

     Mix of 10 and 15 Trap Trawls (Average 11)
     This trip had 25 reported hauls, which were detectable at the one and two minute ping rates. A cluster
     of points toward the end of the trip that was likely setting activity was misclassified as steaming. A
     notable issue occurred removing pings in port where the vessel moved to a new location at the end of
     the day.




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                                                                                         COMM'R ADD-32
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                                                                          COMM'R ADD-33
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                                                   Lobster Vessel DatePing
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                                                                           Rate Analysis        Entry ID: 6717663
     15+ Trap Trawls
     Trawls within this example trip were mostly detected; however, a notable issue is visible where several
     of the hauls were split into two hauls even though adjacent pings were correctly classified as hauling.
     This was likely due to dropped pings; the device lost GNSS reception causing the time difference
     between adjacent pings to be 2 or 3 minutes. When the resulting hauling classified data was clustered,
     the clustering threshold fell below this time difference causing two separate hauls to emerge. It will
     likely be necessary to interpolate dropped pings to avoid this issue. This example also highlights the
     necessity of a consistent ping rate during fishing.




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                                                                                       COMM'R ADD-34
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                                        Lobster Vessel DatePing
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                                             31                           COMM'R ADD-35
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                                                  Lobster Vessel DatePing
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                                                                          Rate Analysis       Entry ID: 6717663
     Unknown Trawls - Vessel 1
     Unknown size trawls (likely < 10 traps) from a vessel not used in previous examples. Some pings in
     port were not removed, indicating the need for larger buffer size from the beginning of the track.




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                                             33                           COMM'R ADD-37
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                                                 Lobster Vessel DatePing
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                                                                         Rate Analysis     Entry ID: 6717663
     Unknown Trawls - Vessel 2
     Unknown size trawls from a vessel not used in previous examples.




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                                                                                   COMM'R ADD-38
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                                        Lobster Vessel DatePing
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                                                                          COMM'R ADD-39
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                                                    Lobster Vessel DatePing
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                                                                            Rate Analysis         Entry ID: 6717663
     Data Size Considerations
     Ping Data Structure
     The following is the minimal datatype sizes necessary to represent a ping attributes in a relational
     database. Actual implementations would likely utilize structure requiring more space; these numbers
     are intended to represent the absolute minimum space to store ping data in an uncompressed state.

                  Optimal Attribute
                   Data     Size
      Attribute    Type    Bytes                                      Comments

      Device ID     16-bit       2       Able to represent 65,536 unique devices/vessels. Actual device ID
                  unsigned               per manufacturer likely much longer than this, but can use lookup
                   integer                                         table in DB.

        Time        64-bit       8          Most devices transmit ping time as the UNIX epoch or an ISO
                  unsigned                             datetime string, store as UNIX epoch.
                   integer

       Latitude    single-       4                            Precise to 7 decimal places.
                  precision
                    float

      Longitude    single-       4                            Precise to 7 decimal places.
                  precision
                    float

      Horizontal  16-bit         2        Store accuracy to one decimal * 10 - ie, accuracy of 2.45 meters
      Accuracy unsigned                                            stored as 25
                 integer


     Database Size
     A single vessel pinging at a one minute rate 24 hours a day would produce 525,960 pings annually.
     Thus, the full federal lobster fleet of ~1600 vessels would produce 841,536,000 pings. Given the above
     minimum size of 20 bytes per ping, this would result in 16.83GB of data annually. Minimizing pinging
     while in port and/or removing pings in port prior to long-term storage would further reduce this figure by
     likely more than 50%.

     Ping rates slower than one minute would decrease data storage sizes accordingly. However, given the
     relatively small amount of data that would be produced by the entire fleet at even a one minute rate,
     reductions in ping rate would likely realize minimal cost savings if any relative to the loss of data
     resolution.


     Conclusions
           For trawls <10 traps in length, a one minute ping rate is necessary to distinguish the location of
           individual trawls. The size of the trawl relative to other small trawl sizes may not be discernible
           even at a one minute rate due to differences in hauling speed between vessels, locations and
           conditions. These results are consistent with findings in the Scottish European lobster creel
           fishery that a one minute ping rate was necessary to delimit hauling of 10-50 trap creels (Mendo,
           Smout, Russo, et al. 2019).
                                                         36                              COMM'R ADD-40
Case: 25-1007     Document: 00118279509            Page:    96 Tracking
                                                   Lobster Vessel DatePing
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           A one minute ping rate can allow for the detection of setting of gear when no hauling occurred.
           The location of trawls of 10 traps and greater can be distinguished at up to a 3 minute ping rate.
           However, as with smaller trawls, the precision with with the size of the trawl can be estimated will
           decrease at slower ping rates.
           The lack of groundtruthed classified ping data makes calculating metrics on the performance of
           effort detection algorithms difficult. With validated training data, such as haul times from an
           onboard observer or a hauler sensor connected to the tracker, it may be possible to build better
           models and calculate metrics of their accuracies.


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                                                                                         COMM'R ADD-41
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       Appendix B. Standard Affidavit Language for Tracking Device Certification

        NOTICE TO FEDERAL AMERICAN LOBSTER COMMERCIAL TRAP GEAR AREA PERMIT HOLDERS

       Under the authority of the Atlantic Coastal Fisheries Cooperative Management Act, Addendum
       XXIX to Amendment 3 to the Interstate Fishery Management Plan for American Lobster and
       Addendum IV to the Fishery Management Plan for Jonah crab requires all vessels with a federal
       American Lobster Trap Gear Area permit to have an approved vessel tracker installed as of
       Month DD, YYYY. Tracking devices must be installed prior to the permit holder’s first fishing trip.
       This vessel tracker must remain powered and transmitting when the vessel is in the water
       regardless of landing state, trip type, location fished, or target species. All devices must follow
       the specifications outlined in Section 3.1 of Addendum XXIX. A list of approved devices along
       with vendor contact information is attached to this document.

       The principal port on your Federal Fishery Permit lies within the [Principal Port State], thus the
       [Principal Port State Agency] will be tasked with certifying the installation of your vessel
       tracking device. In the event you believe your tracker is not functioning correctly and must be
       serviced, please contact [Principal Port State Agency], and inform them of your situation.

       Please complete, sign and return this form once an approved device has been installed on your
       vessel.

       Federal Fishery Permit Number:

       Documentation or Vessel Registration Number:

       Vessel Name:

       Vessel Tracking Device Vendor:

       Vessel Tracking Device Identifier:

       I certify that the above vessel tracking device is installed and properly functioning to the best of
       my knowledge.

       Permit Holder Signature:

       Permit Holder Printed Name:

       Date:




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